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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-2389-DDD-NRN

   ESTATE OF ELIJAH JAVON MCCLAIN, by and through its personal representatives Sheneen
   McClain and Lawayne Mosley;
   SHENEEN MCCLAIN, individually;
   LAWAYNE MOSLEY, individually;

          Plaintiffs,

   v.

   CITY OF AURORA, COLORADO, a municipality;
   OFFICER NATHAN WOODYARD, in his individual and official capacity;
   OFFICER RANDY ROEDEMA, in his individual and official capacity;
   OFFICER JASON ROSENBLATT, in his individual and official capacity;
   OFFICER MATTHEW GREEN, in his individual and official capacity;
   SERGEANT DALE LEONARD, in his individual and official capacity;
   OFFICER ALICIA WARD, in her individual and official capacity;
   OFFICER KYLE DITTRICH, in his individual and official capacity;
   OFFICER ERICA MARRERO, in her individual and official capacity;
   OFFICER JAMES ROOT, in his individual and official capacity;
   OFFICER JORDAN MULLINS-ORCUTT, in his individual and official capacity;
   OFFICER DARREN DUNSON, in his individual and official capacity;
   OFFICER STEPHANIE NGHIEM, in her individual and official capacity;
   SERGEANT RACHEL NUNEZ, in her individual and official capacity;
   LIEUTENANT PETER CICHUNIEC, in his individual and official capacity;
   PARAMEDIC JEREMY COOPER, in his individual and official capacity;
   DR. ERIC HILL, in his individual capacity.

         Defendants.
   ______________________________________________________________________________

                    AMENDED COMPLAINT AND JURY DEMAND
   ______________________________________________________________________________

          Plaintiffs, by and through their attorneys, Mari Newman, Michael Fairhurst, and Liana

   Gerstle Orshan of KILLMER, LANE & NEWMAN, LLP, respectfully allege for their Complaint and

   Jury Demand as follows:
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                                          I. INTRODUCTION

          “I can’t breathe. I can’t breathe please. I can’t. I can’t breathe. I can’t breathe, please
          stop. [Groans of pain]. I have my ID right here. I have my ID right (inaudible). My
          name is Elijah McClain. That’s all. That’s what I was doing. I was just going home.
          I’m an introvert and I’m different. [Sobbing]. I just (inaudible). I’m just different.
          I’m just different, that’s all. That’s all I was doing. I’m so sorry. I have no gun. I
          don’t do that stuff. I don’t do any fighting. Why were you attacking me? I don’t do
          guns. I don’t even kill flies. I don’t eat meat…. I am [ ] a vegetarian. I don’t judge
          people for anything. I try to live (inaudible), and I respect all life. Forgive me. All
          I was trying to do was become better…. But I’ll do it. I’ll do it. .... To help all life.
          I will do (inaudible). Even if I have to sacrifice my identity. I’ll do it. I’ll do it. You
          all are phenomenal. You are beautiful. [Groans of pain]. Forgive me. …. [Cry of
          pain]. I’m so sorry. I’m so sorry. Ow. Ow, that really hurt. You guys are very strong.
          Teamwork makes the dream work. [Sobbing]. Ow that hurts. (Multiple very quiet,
          inaudible statements). Oh yeah I’m sorry. I wasn’t trying to do that. I can’t breathe
          correctly because— [Vomiting] …. Ok, ok…I can’t sense myself. Ow! Ah! Ow!
          Stop please!... I’m trying…. Please help me.”

          1.      These were the last words spoken by 23-year-old Elijah Javon McClain, killed by

   Aurora, Colorado, police and paramedics on August 24, 2019.

          2.      Elijah was listening to music, enjoying the short walk home from the corner store

   with some iced tea when Aurora police officers grabbed, tackled, and assaulted him. Officers

   continued to brutalize Elijah for nearly eighteen minutes—approximately fifteen minutes of

   which he was handcuffed. The force that Aurora officers used against Elijah included

   compressing his neck and the blood flow to his brain with two consecutive carotid holds,

   cranking his left shoulder with an armbar hammerlock that caused it to repeatedly pop, and, even

   after he was handcuffed with his hands behind his back, continuing to crush him under the

   weight of their bodies and slamming him to ground when he arched up slightly to vomit or in

   response to the pain. One officer also jammed his knee into Elijah’s arm for minutes on end, with

   the sole purpose of inflicting pain by forcefully separating Elijah’s bicep and triceps muscles. All

   the while, the officers terrorized Elijah with additional threats that they would tase him and sic a

   police dog on him.
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          3.      As Elijah lay handcuffed, in his own vomit, on the ground, under the hundreds of

   pounds of combined weight of Aurora Police Department officers, Aurora Fire Rescue

   paramedics involuntarily injected him with a massive dose of ketamine. Elijah was not

   experiencing, and did not appear to be experiencing, any medical condition that would be treated

   with ketamine, a powerful sedative that frequently causes devastating side effects. Worse, even if

   the use of ketamine had been medically indicated (it was not), the Aurora Fire Rescue

   Paramedics injected Elijah with a dose well beyond what a man Elijah’s size should receive.

          4.      Minutes after the injection, paramedics noticed that Elijah was not breathing and

   had no pulse. Elijah never regained consciousness, and was pronounced dead a few days later.

   The extended, needless use of excessive force and torture by Aurora Police Department officers

   and the subsequent injection of a massive ketamine overdose by Aurora Fire Rescue paramedics

   overwhelmed Elijah’s body. He could not recover.

          5.      Elijah’s family and community remember him for his outsized kindness and

   grace, his desire to help and heal, and his thoughtful, spiritual approach to life. As a massage

   therapist, he sought to soothe his clients’ pain. As a violinist, he would often play for animals

   awaiting adoption at a local pet rescue, believing that music would alleviate their loneliness. As a

   son, brother, cousin, and friend, Elijah’s outward shyness gave way to an effervescent, goofy,

   creative personality that made him a beloved member of his community. Aurora’s brutality

   denied Elijah almost his entire adult life, a life of bright promise both for him and for the many

   people with whom he would have shared his light and compassion.

          6.      Aurora’s unconstitutional conduct on the night of August 24, 2019, is part of a

   larger custom, policy, and practice of racism and brutality, as reflected by its conduct both before

   and after its murder of Elijah McClain, a young Black man. For decades, Aurora police have
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   persistently brutalized people of color, and especially Black people, at a rate significantly greater

   than their proportion in the Aurora community. Some—but by no means all—examples of cases

   brought by victims of Aurora’s racist brutality are set forth herein.

          7.      Aurora’s custom, policy, and practice of unconstitutional racist brutality is

   reflected in its recent conduct as well. The City of Aurora refuses even basic accountability,

   having failed to fire or even discipline anyone in relation to Elijah’s death. Instead, the City has

   acted aggressively to lash out at and deflect those who insist on justice for Elijah. For example,

   Aurora Police Department forces beat and gassed peaceful protesters demanding justice for

   Elijah outside the police headquarters. And, pressed by the City’s elected council members to

   perform an independent investigation of Elijah’s killing, Aurora’s city manager announced that

   such an investigation was already underway—only to be forced to reveal that the City had not

   hired an independent investigator at all, but instead hired a former police officer and municipal

   defense attorney whose apparent purpose was to help the City dodge liability for its police

   officers’ and medics’ actions.

          8.      Aurora permits and encourages a culture of racial violence in its police

   department that is so rampant that a trio of on-duty, uniformed Aurora police officers returned to

   the scene of Elijah’s killing to take pictures of themselves smiling while reenacting the

   chokehold performed on Elijah. The officers proceeded to text message the photos to other

   members of the department. Notably, two of the officers who reenacted Elijah’s murder were

   among those Defendants who stood idly by and failed to intervene the night their colleagues

   tortured and killed Elijah; one recipient of the photo was hands-on killer Defendant Jason

   Rosenblatt, who responded to the text of the photo as though Elijah’s killing were a joke. Under

   mounting public pressure, the City fired these officers, some of whom in turn have appealed
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   those firings because their conduct was of the sort widely accepted in the Aurora Police

   Department for decades. Yet, the City still has not taken any steps to discipline anyone for the

   killing of an innocent young man.

             9.     Plaintiffs bring this action seeking both accountability for the profound loss of a

   beautiful soul, and to ensure that Elijah did not die in vain by sending a resounding message that

   racism and brutality have no place in American law enforcement.

                                   II. JURISDICTION AND VENUE

             10.    This action arises under the Constitution and laws of the United States and is

   brought pursuant to Title 42 U.S.C. § 1983. Jurisdiction is conferred on this Court pursuant to 28

   U.S.C. § 1331. Jurisdiction supporting Plaintiffs’ claim for attorney fees and costs is conferred

   by 42 U.S.C. § 1988.

             11.    Jurisdiction for Plaintiffs’ supplemental state law claims, brought under Colorado

   state law, including the wrongful death act, C.R.S. § 13-21-201 et seq., is conferred by 28 U.S.C.

   § 1367.

          12.       Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All

   of the events alleged herein occurred within the State of Colorado.

                                              III. PARTIES

             A. Plaintiffs

             13.    At all times relevant to the subject matter of this Complaint, the decedent Elijah

   McClain was a citizen of the United States of America and a resident of and domiciled in the

   State of Colorado. At all relevant times, the decedent’s parents, Sheneen McClain and Lawayne

   Mosley, were the co-personal representatives of the Estate of Elijah McClain.

          14.       Plaintiff Sheneen McClain is Elijah McClain’s biological mother. At all times
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   relevant to the subject matter of this Complaint, Ms. McClain was a citizen of the United States

   of America and a resident of and domiciled in the State of Colorado.

          15.      Plaintiff Lawayne Mosley is Elijah McClain’s biological father. At all times

   relevant to the subject matter of this Complaint, Mr. Mosley was a citizen of the United States of

   America and a resident of and domiciled in the State of Colorado.

          B. Defendants

                1. Institutional Defendant

          16.      Defendant City of Aurora, Colorado (“Aurora”) is a municipality organized under

   the laws of the State of Colorado, and is a “person” subject to suit under 42 U.S.C. § 1983. The

   Aurora Police Department (“APD”) is a law enforcement agency that is part of the City of

   Aurora. Aurora Fire Rescue (“AFR”) is a fire department that is part of the City of Aurora.

          17.      At all times relevant to the subject matter of this Complaint, Defendant City of

   Aurora was responsible for the oversight, supervision, discipline, and training of APD and AFR

   personnel.

          18.      At all times relevant to the subject matter of this Complaint, Defendant City of

   Aurora had a nondelegable duty to provide adequate medical care to individuals who received

   emergency medical responder services.

                2. Aurora Police Department Defendants

          19.      At all times relevant to the subject matter of this Complaint, Defendant Nathan

   Woodyard was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Woodyard was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a law enforcement officer employed

   by the Aurora Police Department.
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          20.     At all times relevant to the subject matter of this Complaint, Defendant Randy

   Roedema was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Roedema was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a law enforcement officer employed

   by the Aurora Police Department.

          21.     At all times relevant to the subject matter of this Complaint, Defendant Jason

   Rosenblatt was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Rosenblatt was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a law enforcement officer employed

   by the Aurora Police Department.

          22.     At all times relevant to the subject matter of this Complaint, Defendant Matthew

   Green was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Green was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a law enforcement officer employed

   by the Aurora Police Department.

          23.     At all times relevant to the subject matter of this Complaint, Defendant Dale

   Leonard was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Leonard was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a Sergeant employed by the Aurora

   Police Department.

          24.     At all times relevant to the subject matter of this Complaint, Defendant Alicia

   Ward was a citizen of the United States and a resident of and domiciled in Colorado. At all

   times, Defendant Ward was acting within the scope of her official duties and employment and
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   under color of state law in her capacity as a law enforcement officer employed by the Aurora

   Police Department.

          25.     At all times relevant to the subject matter of this Complaint, Defendant Kyle

   Dittrich was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Dittrich was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a law enforcement officer employed

   by the Aurora Police Department.

          26.     At all times relevant to the subject matter of this Complaint, Defendant Erica

   Marrero was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Marrero was acting within the scope of her official duties and

   employment and under color of state law in her capacity as a law enforcement officer employed

   by the Aurora Police Department.

          27.     At all times relevant to the subject matter of this Complaint, Defendant James

   Root was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant James Root was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a law enforcement officer employed

   by the Aurora Police Department.

          28.     At all times relevant to the subject matter of this Complaint, Defendant Jordan

   Mullins-Orcutt was a citizen of the United States and a resident of and domiciled in Colorado. At

   all relevant times, Defendant Mullins-Orcutt was acting within the scope of his official duties

   and employment and under color of state law in his capacity as a law enforcement officer

   employed by the Aurora Police Department.

          29.     At all times relevant to the subject matter of this Complaint, Defendant Darren
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   Dunson was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Dunson was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a law enforcement officer employed

   by the Aurora Police Department.

          30.      At all times relevant to the subject matter of this Complaint, Defendant Stephanie

   Nghiem was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Nghiem was acting within the scope of her official duties and

   employment and under color of state law in her capacity as a law enforcement officer employed

   by the Aurora Police Department.

          31.      At all times relevant to the subject matter of this Complaint, Defendant Rachel

   Nunez was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Nunez was acting within the scope of her official duties and

   employment and under color of state law in her capacity as a Sergeant employed by the Aurora

   Police Department.

          32.      Defendants Woodyard, Roedema, Rosenblatt, Green, Leonard, Ward, Dittrich,

   Marrero, Root, Mullins-Orcutt, Dunson, Nunez, and Nghiem are collectively known herein as

   “APD Defendants.”

                3. Aurora Fire Rescue Defendants

          33.      At all times relevant to the subject matter of this Complaint, Defendant Peter

   Cichuniec was a citizen of the United States and a resident of and domiciled in Colorado. At all

   relevant times, Defendant Cichuniec was acting within the scope of his official duties and

   employment and under color of state law in his capacity as a Lieutenant and paramedic

   employed by Aurora Fire Rescue.
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           34.     At all times relevant to the subject matter of this Complaint, Defendant Jeremy

    Cooper was a citizen of the United States and a resident of and domiciled in Colorado. At all

    relevant times, Defendant Cooper was acting within the scope of his official duties and

    employment and under color of state law in his capacity as a paramedic employed by Aurora Fire

    Rescue.

           35.     Defendants Cichuniec and Cooper are collectively known herein as “AFR

    Defendants.”

           36.     At all times relevant to the subject matter of this Complaint, Defendant Eric Hill

    was a citizen of the United States and a resident of and domiciled in Colorado. At all relevant

    times, Defendant Dr. Hill was contracted by the City of Aurora to work as the Medical Director

    of Aurora Fire Rescue. At all relevant times, Defendant Dr. Hill was acting within the scope of

    his duties and under color of state law in his capacity as the AFR Medical Director. At all

    relevant times, as AFR’s medical director, Dr. Hill had a duty to adequately train and supervise

    AFR paramedics in their treatment of patients.

                                   IV. FACTUAL ALLEGATIONS

           A. Elijah McClain was a peaceful and beloved young man with a promising future.

           37.     Elijah McClain’s life was cut short at the age of 23, but even in that limited time,

    he developed a promising career and established a loving community of friends and family.

           38.     Elijah was a gentle young man who had a fierce passion for learning. Elijah’s

    mother, Sheneen McClain, homeschooled Elijah from a young age. Sheneen noticed early on that

    Elijah was highly disciplined and independent in his learning, but also possessed a fun-loving

    personality.
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                                              Elijah McClain

           39.     Elijah’s family and friends remember him as a constantly positive young man,

    who did his best to avoid conflict. Elijah’s sister, Samara, explained that rather than engaging in

    an argument, “[Elijah] would just say, ‘I love you,’ and walk away.”

           40.     As a peaceful person who wanted to help heal others, Elijah dove head-first into

    his pursuit of a Massage Therapy Certification.

           41.     Elijah would tell his family and friends about his dream to become such a

    successful massage therapist that he would be able to offer his services around the world. The

    interpersonal aspects of massage therapy and the opportunity to relieve the pain of others

    cemented Elijah’s love of his trade.
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                            Elijah discovered his passion for massage therapy

           42.     Elijah was popular with everyone at the salon where he worked, from his co-

    workers to his clients. One of Elijah’s regular clients said of Elijah, “He was the sweetest, purest

    person I have ever met. He was definitely a light in a whole lot of darkness.”

           43.     According to Elijah’s family and friends, his gratitude for life and for those with

    whom he shared the world was palpable. He made others feel loved and important. Even in day-

    to-day interactions, Elijah was known to ask others around him, including strangers in a

    convenience store, how they were.

           44.     Often after these kinds of interactions, Elijah would bow—what his family and

    friends termed his “gratitude bow”—to thank his companions for their conversation.

           45.     Elijah’s family mourns that Elijah will never have children, as Elijah’s deep

    empathy and nurturing personality would have made him an excellent father. Elijah’s parents

    will never have the opportunity to be grandparents to Elijah’s children.
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           46.     Just as he cherished the people in his life, Elijah was passionate about helping

    animals.

           47.     Elijah adopted a vegetarian diet because he was concerned about animals’

    suffering. He was so averse to causing harm to another living being that he would chase flies

    away rather that swatting them.

           48.     Elijah used his lunch breaks during work to play his violin for animals waiting to

    be adopted from a local pet rescue, believing that the music eased their loneliness.




                              Elijah plays his violin for animals awaiting adoption

           49.     Elijah was a lover of music. He taught himself to play the violin, guitar and other

    instruments. He listened to music often, including the night that he was killed by Defendants.

           50.     On August 24, 2019, Elijah had before him a rich lifetime of instruments to learn,

    animals to comfort, and people to love and heal. Instead, Elijah leaves behind family and friends

    who grieve the loss of his love, his infectious smile, his extraordinary kindness—his life—every
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    day.

           B. APD Defendants unlawfully seized Elijah McClain as he walked home from a
              convenience store.

           51.     At approximately 10:30 p.m. on the evening of August 24, 2019, Elijah had just

    purchased some iced tea from a convenience store a few blocks away from his home in Aurora,

    Colorado, and was walking home.

           52.     Unbeknownst to Elijah, a passing motorist had called 911 to report what the caller

    viewed as unusual behavior on Elijah’s part: wearing a face mask and making arm motions as he

    walked down the street.

           53.     Elijah was known to his friends and family to easily become cold, and would

    often wear the mask in public for his comfort. Though it was August, the temperature at the time

    was approximately 67 degrees Fahrenheit.

           54.     The caller assured the 911 operator that he had not seen Elijah with any weapons,

    and that neither he nor anyone else was in danger; indeed, the caller did not accuse Elijah of any

    criminal or otherwise suspicious activity, but simply believed that Elijah was behaving oddly. He

    even told the 911 operator that Elijah “might be a good person or a bad person.” The caller

    advised the 911 operator that he was in his car, at substantial distance from Elijah, when he

    placed the call.

           55.     The 911 caller also reported that the subject of the call was Black, and dispatch

    radioed that information to responding APD officers.

           56.     Video footage of Elijah from the store where he had purchased the iced tea

    demonstrates that Elijah’s behavior was neither dangerous nor particularly unusual. Elijah

    selected some cans of iced tea, waited in line, had friendly interactions with other customers in

    the store, paid for his tea, and departed with his signature “gratitude bow” to the customer behind
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    him in line.

            57.     The clerk at the convenience store would later say that Elijah laughed and joked

    with the other customers, and made polite conversation. She noted that Elijah was not at all

    threatening during his time in the store.

            58.     Though there was obviously no need for police contact at all, APD dispatched

    three officers to find Elijah.

            59.     Defendant APD Officer Nathan Woodyard drove one police vehicle, while

    Defendant Officers Jason Rosenblatt and Randy Roedema occupied another.

            60.     Defendant Woodyard quickly located Elijah, who was walking down the sidewalk

    normally, minding his own business as he walked the few blocks to his home. Defendant

    Woodyard performed a U-turn so that he could park his car in front of Elijah; Defendants

    Rosenblatt and Roedema parked behind Elijah.

            61.     At this point, the officers should have recognized that there was no need to

    contact Elijah. Elijah was clearly doing nothing more than walking down the sidewalk, not doing

    anything that justified police contact.

            62.     Defendants had no legal right to require that Elijah stop or engage with them, as

    they had neither reasonable suspicion nor probable cause to believe that he had committed or

    was about to commit any crime.

            63.     Nonetheless, Defendant Woodyard exited his vehicle and demanded that Elijah

    stop.

            64.     Elijah continued to walk peacefully down the sidewalk, calmly informing

    Defendant Woodyard that he had a right to walk to his destination. Elijah was correct; he had no

    legal obligation to stop to speak with Defendant Woodyard, and Defendant Woodyard had no
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    legal authority to stop him.

           65.       Defendant Woodyard quickly traversed the approximately 20 feet between

    himself and Elijah, seized Elijah’s left arm, and advised him, incorrectly, that Defendant

    Woodyard had a right to stop him because Elijah was “being suspicious.”

           66.       Notably, the officers had been specifically told, via the computer-aided dispatch

    system (CAD), that the 911 call involved no known weapons, and Defendant Woodyard could

    see that Elijah did not have a weapon or anything dangerous in his hands. He was a couple of

    blocks from a corner store, carrying a plastic shopping bag.

           67.       Neither Defendant Woodyard nor any other APD officer had reason to suspect

    Elijah of criminal activity.

           68.       During the lengthy, brutal use of force that followed Defendant Woodyard’s

    contact with Elijah, Defendants Roedema, Woodyard, and Rosenblatt and other APD personnel

    on scene—including at least Defendant Sergeant Dale Leonard and Defendant Alicia Ward—

    repeatedly discussed whether or not the APD officers had any justification to stop Elijah beyond

    his “acting suspicious.” No APD officer ever provided any reasonable basis for contacting

    Elijah, because there was none.

           69.       When interviewed after the fact by an APD detective, neither Defendant

    Woodyard nor any other APD officer could name any specific crime that they suspected Elijah

    of committing.

           70.       Defendant Woodyard instead offered an array of post hoc pretextual justifications

    for his generalized “suspicion,” including Elijah’s clothing, Elijah’s location, the time of night,

    and Elijah’s “actions.” In fact, Elijah was engaged in the nonremarkable behavior of walking the

    few blocks between a convenience store and his home, on a public sidewalk, well before
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    midnight, wearing a generic brown zip-up jacket, red t-shirt, black jogger pants, and running

    shoes.

             71.    Similarly, Defendants Roedema and Rosenblatt offered numerous excuses for

    their decision to make contact with Elijah, none of which suggested that Elijah had done, was

    doing, or was about to do anything criminal.

             72.    Defendants Woodyard’s, Roedema’s, and Rosenblatt’s various articulated reasons

    for having contacted Elijah were mere pretext for race discrimination. Indeed, even before

    making contact, they already knew Elijah was Black from the information that had been radioed

    by dispatch about the 911 call. Upon seeing Elijah, they observed that he was Black, and

    although he exhibited no suspicious behavior, the officers nonetheless elected to contact him and

    almost immediately use force against him.

             73.    Defendants Woodyard’s, Roedema’s, and Rosenblatt’s race-based decisions to

    contact and inflict force on Elijah were consistent with APD’s customs, polies and/or practices of

    seizing and using unnecessary force on Black individuals.

             74.    As detailed below, APD officers have a lengthy history of seizing Black people

    and using excessive force against them even though they were suspected of committing only

    minor infractions or, as in this case, no infraction at all. 1

             75.    Defendant Woodyard seized Elijah by the left arm—without first warning Elijah

    that he was going to do so or otherwise communicating his intentions to Elijah. Defendant

    Woodyard immediately spun Elijah around as if to handcuff him, telling Elijah to turn around


    1
      APD has a shocking pattern of using force against those suspected of committing
    misdemeanors (or no crime at all) much more often than APD officers use force against those
    suspected of committing felonies. In 2019, for example, 67% of total APD contacts with use of
    force involved force against individuals suspected of committing misdemeanors, compared to
    28% involving use of force against individuals suspected of felonies (5% involved contacts with
    other circumstances).
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    only as he was already manhandling him.

           76.     Elijah offered no physical resistance whatsoever to Defendant Woodyard’s

    unlawful seizure. Instead, he simply asked Defendant Woodyard to let go of him.

           77.     Though Elijah was not suspected of any crime and had taken no action of any

    kind toward Defendant Woodyard, Defendant Woodyard later told investigators that at this point,

    he already was considering how take Elijah to the ground. Defendant Woodyard claimed that he

    had wanted to search Elijah for weapons (Elijah had none, the 911 caller and dispatch had each

    reported that there was no weapon involved, and the APD officers had no reason to suspect that

    he had any); however, neither Defendant Woodyard nor any other APD officer ever advised

    Elijah that they wanted to search him. They simply seized and manhandled him without

    explanation.

           78.     A few seconds later, Defendant Rosenblatt approached Elijah and seized him by

    the right arm. Neither he nor Defendant Woodyard had a legal basis to put their hands on Elijah.

           79.     Elijah was rightfully terrified. Two officers of a notoriously racist, violent police

    department had just roughly seized him even though he had done nothing wrong.

           80.     Elijah instinctively tensed his muscles as the officers suddenly grabbed him,

    leading both officers to begin shouting at him, “Stop tensing up, bro.” Of course, they had caused

    Elijah to tense his muscles with their unlawful, unexplained seizure of his body and their refusal

    to honor his polite requests to be allowed to continue walking home.

           81.     Defendant Rosenblatt later told investigators that he had been trained that some

    people tense their muscles when they are initially seized by police officers. Despite this training,

    he and his fellow APD officers treated Elijah’s reflexive tensing of his muscles as conscious

    disobedience of their orders.
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           82.     Rather than address Elijah’s obvious anxiety and requests for the officers to end

    their unlawful seizure of his body, Defendant Rosenblatt threatened Elijah, “This isn’t going to

    go well.”

           83.     Elijah tried desperately to explain to the officers that they were causing him

    extreme anxiety, stating, “I am an introvert. Please respect the boundaries that I am speaking.”

           84.     Absurdly, even as Elijah told the officers that they were causing him distress, and

    as they continued to perform the very behaviors that were causing him such distress, the officers

    ordered Elijah to relax.

           85.     Elijah told the officers that he was just going home.

           86.     Ignoring Elijah’s statements, Defendant Woodyard menacingly threatened Elijah

    that if he did not stop tensing his body, the officers would “change the situation.”

           87.     Elijah calmly asked the officers to leave him alone. Defendant Randy Roedema,

    who had just approached Elijah, refused.

           88.     Elijah explained to the officers that when Defendant Woodyard had approached

    him, he was wearing his headphones and he was trying to stop his music so that he could hear

    Defendant Woodyard.

           89.     Though Elijah continued to speak calmly and reasonably, Defendants Woodyard,

    Rosenblatt, and Roedema totally disregarded Elijah’s statements. They spoke over Elijah to

    discuss among themselves how they would “get him over to the grass” so they could take him to

    the ground—though they had absolutely no legitimate reason to tackle Elijah.

           90.     The officers still offered Elijah no explanation for their contact or their seizure of

    him. Defendant Rosenblatt instead alerted Elijah that the officers planned to escalate the

    encounter and take him to the ground.
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           91.      Defendant Roedema snatched Elijah’s plastic grocery bag containing the iced tea

    and threw it to the ground.

           92.      Together, Defendants Woodyard and Rosenblatt frog-marched Elijah across a

    grass lawn and shoved him up against a brick apartment building, such that Elijah’s back was to

    the brick wall with an officer on each side forcefully controlling his arms.

           93.      By the time Defendants Woodyard and Rosenblatt had shoved Elijah against the

    wall, each officer’s body-worn camera was detached from his uniform and had fallen to the

    ground. 2

           94.      In order to create some justification for the use of force, Defendant Roedema

    falsely told Defendants Woodyard and Rosenblatt—in a notably non-urgent tone—that Elijah

    attempted to grab Defendant Rosenblatt’s holstered gun.

           95.      Later, as Defendants Woodyard, Roedema, and Rosenblatt struggled to come up

    with a justification for their ongoing use of force against Elijah to present to their supervisor,

    Defendant Leonard, once he was on scene, Defendant Woodyard volunteered a totally different

    false story, that Elijah “tried to grab my [Defendant Woodyard’s] gun”—not Defendant

    Rosenblatt’s.

           96.      Defendant Roedema provided a different version of events, contradicting

    Defendant Woodyard’s story: “It was actually Rosenblatt’s gun.” Defendant Roedema then

    informed Defendant Rosenblatt, “He reached for your gun dude.”

           97.      Apparently forgetting what he had already said, Defendant Roedema provided yet

    another version of his story when interviewed after the fact, claiming that Elijah didn’t just



    2
     As described in more detail below, there is evidence that the officers intentionally tampered
    with, moved, and/or shut off body cameras in order to avoid accountability for their continued
    use of excessive force against Elijah.
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    “reach” for the gun, but actually “grabbed it” and “wrapped his middle finger around it.”

           98.      After he concluded his personal participation in the use of force against Elijah,

    Defendant Rosenblatt spoke to Defendant Leonard about the use of force and adopted Defendant

    Roedema’s story about the supposed grabbing of a gun.

           99.      Defendant Rosenblatt told Defendant Leonard that after the APD officers pushed

    Elijah up against the brick wall, Defendant Roedema had called out that Elijah attempted to grab

    Defendant Rosenblatt’s gun specifically. However, Defendant Rosenblatt would later

    inconsistently tell investigators that he actually didn’t know which Defendant’s gun was

    supposedly grabbed at all, and that he wasn’t sure whose gun Defendant Roedema’s call

    referenced.

           100.     Notably, Defendant Rosenblatt later reported that he never felt Elijah try to grab

    his gun.

           101.     Despite his later admission that he had not felt anything, and his lack of any

    independent knowledge of whether or not Elijah had tried to grab his gun, Defendant Rosenblatt

    told other APD officers who arrived on scene later during the encounter that Elijah had tried to

    grab his gun.

           102.     There is no evidence—beyond the conflicting claims of Defendants Roedema,

    Woodyard, and Rosenblatt—that Elijah ever tried to grab any gun.

           103.     Defendant Roedema’s body-worn camera, the only camera that remained affixed

    to an APD officer at this time, showed no such attempt by Elijah. This is because Elijah did not

    try to grab any officer’s gun.

           104.     Neither Defendant Woodyard nor Defendant Rosenblatt reported having seen

    Elijah reach for a gun.
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           105.    As all APD Defendants were aware, the holsters used by APD officers have an

    array of fail safes to prevent others from removing officers’ firearms from their holsters. The

    Aurora Police Department’s own Directives Manual requires that all of its officers wear a

    security holster for their firearm on a duty belt, protecting from the possibility of a suspect

    gaining control of an officer’s gun. Accordingly, even if any of Defendants’ various conflicting

    versions of the story were true (which they clearly were not), Defendants Roedema, Woodyard,

    and Rosenblatt all knew that there was no realistic possibility of Elijah obtaining or using the

    weapon.

           C. Defendants Roedema, Rosenblatt and Woodyard tackled Elijah and brutalized
              him with multiple, compounding forms of excessive force.

           106.    At this point, Defendant Roedema seized Elijah by the head with both hands and

    forced his head and torso downward, putting Elijah in a standing “L” position.

           107.    Defendant Rosenblatt placed Elijah in a carotid control hold, using his forearm

    and bicep to place pressure on either side of Elijah’s neck and drastically reduce the flow of

    blood to his brain.

           108.    Elijah was unarmed, weighed approximately 143 pounds (65 kilograms), and was

    surrounded by three armed police officers, each of whom was substantially larger than Elijah.

    Setting aside the obvious lack of need to use any force against Elijah, Defendant Rosenblatt

    could have selected any number of tactical options rather than the carotid hold.

           109.    The carotid hold is a notoriously dangerous technique that at the time was banned

    in many states and prohibited by other Colorado police and sheriffs’ departments. The hold is

    now outlawed in Colorado.

           110.    With Elijah in an entirely helpless and controlled position in Defendant

    Rosenblatt’s grasp, Defendant Woodyard proceeded to tackle Elijah. Defendant Woodyard later
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    told investigators that he tackled Elijah to the ground as hard as he could.

           111.    Defendant Woodyard, like all of the involved Defendants, significantly

    outweighed Elijah.

           112.    Defendant Woodyard’s tackle took him, Elijah, and Defendant Rosenblatt to the

    ground. Defendant Roedema quickly followed, shedding his body camera in the process.

           113.    Seconds after Defendant Rosenblatt released his carotid hold, Defendant

    Woodyard applied a second carotid hold to Elijah.

           114.    Although the dangers associated with the use of more than one carotid hold on the

    same subject were well known to Defendants, Defendant Woodyard readily applied the second

    hold, and neither Defendant Rosenblatt nor Defendant Roedema took any action to prevent

    Defendant Woodyard from doing so.

           115.    Like Defendant Rosenblatt, Defendant Woodyard had a wide array of tactical

    options available to him, particularly given that he was confronting a small, approximately 143-

    pound, unarmed man in the company of two other heavily armed, trained police officers. He

    chose to use the dangerous carotid hold instead.

           116.    While Defendant Woodyard compressed Elijah’s neck in the carotid hold,

    Defendant Roedema inflicted an “armbar hammerlock”—a martial arts technique that involves

    placing intense, painful pressure on the subject’s shoulder—on Elijah’s left arm.

           117.    Defendant Rosenblatt then pinned Elijah’s right arm to the ground. At this point,

    Elijah, who was already totally helpless, was laying on the ground with both arms painfully

    controlled and Defendant Woodyard attempting to choke him unconscious.

           118.    Eventually, Defendant Roedema advised Defendant Woodyard to release the

    carotid hold, which Defendant Woodyard did. Defendant Woodyard later estimated that he had
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    applied the second carotid hold for between five and ten seconds.

            119.    Both during the use of force and during APD’s subsequent investigation of the

    force, Defendants Woodyard, Rosenblatt, and Roedema expressed uncertainty as to whether

    Elijah was actually rendered unconscious by the carotid holds, or if he had merely approached

    unconsciousness.

            120.    Defendant Woodyard reported that he heard a “snoring” sound from Elijah, a

    common side effect of an effective carotid hold, but was not sure if Defendant Roedema had

    advised him to release the control hold because Elijah was unconscious.

            121.    Defendant Roedema reported that Elijah had begun to go unconscious, with his

    eyes partially, but not fully, rolling back in his head.

            122.    Defendant Rosenblatt described Elijah as half in and half out of consciousness,

    and as teetering on the edge of unconsciousness.

            123.    Whether or not he was rendered fully unconscious, Elijah was plainly left in a

    vulnerable state that only heightened his terror, confusion, and physical peril.

            124.    Once Defendant Woodyard finally released Elijah’s neck from the second carotid

    hold, Defendant Roedema jumped on top of Elijah, placing the entirety of his body weight on

    Elijah’s back while Elijah was lying on his stomach. In his interview after the fact, Defendant

    Roedema stated that he weighs 260-270 pounds in his gear—almost twice as much as Elijah.

            125.    As Defendant Rosenblatt later observed, it is dangerous to place pressure on a

    subject’s back or chest after a carotid hold; Defendant Rosenblatt told investigators that a subject

    should instead be placed on their side in a recovery position.

            126.    Despite this knowledge, Defendant Rosenblatt did nothing to prevent Defendant

    Roedema from placing pressure of nearly twice Elijah’s own body weight on Elijah’s back as
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    soon as Defendant Woodyard had released the second carotid hold.

           127.    In fact, rather than taking any action to protect Elijah, Defendant Rosenblatt

    assisted Defendant Roedema in this endeavor, straddling and crushing Elijah’s legs as Defendant

    Roedema continued to apply the armbar hammerlock to Elijah’s arm and shoulder from his

    position atop Elijah’s back.

           128.    Defendant Roedema reported that he cranked on Elijah’s left shoulder as he

    applied the armbar hammerlock, and that he heard Elijah’s shoulder pop three times.

           129.    At approximately this time, Elijah began to retch and vomit.

           130.    Defendant Roedema and Defendant Rosenblatt later reported that all three officers

    simultaneously placed their body weight on Elijah at this point, still only seconds after the

    carotid hold. Defendant Roedema estimated their collective weight at a crushing 700-plus

    pounds.

           131.    From his position on Elijah’s back, Defendant Roedema quickly regained his

    armbar hold on Elijah’s left arm.

           132.    Defendant Roedema later told investigators that he had pushed Elijah’s arm

    unusually far forward in the course of applying his armbar hammerlock, such that Elijah’s elbow

    was parallel to his head.

           133.    Defendant Rosenblatt drew his Taser and threatened to electrocute Elijah.

           134.    Elijah repeatedly cried out, “I can’t breathe” and “I can’t breathe, please!”

    Absurdly, the APD officers responded not with concern for Elijah’s ability to breathe, but by

    again repeatedly ordering him to “Relax!” and continuing to inflict force against him.

           135.    Defendant Woodyard seized Elijah’s right arm, and together with Defendant

    Roedema, placed Elijah in handcuffs.
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           136.      Any “struggle” offered by Elijah throughout his interaction with the officers

    consisted of attempts to breathe and to survive the officers’ brutal, unprovoked assault.

           137.      Elijah never attempted to strike or otherwise injure any of the officers in any way.

           138.      Defendant Roedema later acknowledged to investigators that he believed Elijah

    was in distress and attempting to get away, and tried to get the officers off of him without

    striking them.

           139.      Though the discarded APD body cameras did not capture any of the

    aforementioned force after the officers tackled Elijah, Defendant Woodyard’s camera and

    Defendant Rosenblatt’s camera continued to record audio, including numerous sounds of Elijah

    in pain and multiple ragged, distraught cries from Elijah that he could not breathe.

           140.      Defendant Roedema noted that Elijah’s mask had come off in the process of

    handcuffing him, and that he observed pink vomit inside the mask.

           141.      The time between Defendants’ initial carotid hold and takedown and Defendants’

    application of the handcuffs was about two minutes.

           142.      Had Elijah been white, the Defendants would have treated him very differently.

    Rather than needlessly and intentionally and/or recklessly escalating the situation, APD

    Defendants likely would have had a short and simple conversation with Elijah, confirmed that he

    was merely going for a walk and certainly doing nothing wrong, and then promptly left him

    alone—exactly what they should have done here.

           D. Though Elijah was handcuffed and non-violent, APD Defendants continued to
              threaten and inflict force on him.

           143.      Shortly after the officers handcuffed Elijah, additional APD personnel began to

    arrive at the scene, while Aurora Fire Rescue, which Defendant Rosenblatt had requested after

    the application of the carotid holds, lagged far behind.
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            144.    Defendant APD Sergeant Dale Leonard arrived shortly after Defendants Roedema

    and Woodyard handcuffed Mr. McClain. Defendant Leonard found Elijah on the ground,

    handcuffed, and entirely under the control of Defendants Woodyard, Rosenblatt, and Roedema.

            145.    It was apparent to everyone present that Elijah was not resisting, and that the APD

    officers did not have to expend any significant physical effort to maintain control of him.

            146.    As Defendant Leonard approached Elijah, Elijah repeatedly affirmed that he

    meant the officers no harm, saying things like: “That’s all—that’s all I was doing. I was just

    going home. I’m an introvert and I’m different. I just don’t like—[inaudible]. I’m just different.

    I’m just different! That’s [moan of pain] that’s all I was doing. I’m so sorry! I have no gun! I

    don’t do that stuff. I don’t do any fighting. Why were you [inaudible]? I don’t do guns. I don’t

    even kill flies. I don’t eat meat…. I’m [ ] a vegetarian. I don’t judge people for anything. I

    respect all life.”

            147.    After Defendants Woodyard, Roedema, and Rosenblatt informed him that they

    had used the carotid hold on Elijah, Defendant Leonard anxiously asked them whether there was

    any reason for their contact with Elijah beyond his “being suspicious.” The officers responded in

    the negative.

            148.    Under further questioning by Defendant Leonard, Defendants Woodyard and

    Roedema manufactured conflicting reasons for their ongoing use of force against Elijah, with

    Defendant Woodyard falsely claiming that Elijah tried to grab his gun, and Defendant Roedema

    falsely claiming that Elijah had tried to grab Defendant Rosenblatt’s gun.

            149.    Defendant Leonard ignored his subordinates’ obviously contradictory stories, and

    came up with one of his own: on the basis of no evidence whatsoever, Defendant Leonard

    asserted that Elijah had been using drugs; at least one of the other three officers agreed.
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           150.    Defendants Woodyard, Rosenblatt, and Roedema each later adopted this baseless

    assertion and told investigators that they believed Elijah’s behavior to be consistent with and

    potentially resultant from drug use, though they had not actually observed any behavior that

    suggested Elijah was using drugs.

           151.    To the contrary, Elijah’s conduct and his explanations to the officers that he was

    just trying to go home and was not armed or violent were completely appropriate and non-

    threatening.

           152.    A toxicology screen later revealed that Elijah had no drugs or alcohol in his

    system beyond marijuana.

           153.    Numerous other APD officers filtered into the crime following Defendant

    Leonard’s arrival, including at least Defendants Officer Matthew Green, Officer Alicia Ward,

    Sergeant Rachel Nunez, Officer Jordan Mullins-Orcutt, Officer James Root, Officer Darren

    Dunson, Officer Stephanie Nghiem, Officer Kyle Dittrich, and Officer Erica Marrero.

           154.    None of these additional officers took any action to prevent the ongoing

    application of what was obviously excessive force to Elijah, who was fully restrained, begging

    for his life, and in clear peril—even though each observed their fellow officers’ use of excessive

    force, had the opportunity to intervene, and knew or should have known of the duty to do so.

           155.    Defendants Root and Ward were the next APD personnel to arrive, approximately

    one minute after Defendant Leonard’s arrival.

           156.    Finding that Defendants Woodyard, Roedema, and Rosenblatt could not provide a

    satisfying or objectively reasonable reason for their violent contact of Elijah, Defendant Leonard

    asked Defendant Ward to call the 911 caller and find out “what the story was on the front end.”

           157.    Defendant Ward went to a patrol car to contact the 911 caller along with
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    Defendant Root. As they walked to the patrol car, the two officers discussed the fact that more

    than enough officers were already on scene to handle the call.

           158.    Defendant Nunez arrived at approximately that time, around 90 seconds after

    Defendant Leonard had arrived on scene.

           159.    Though Defendant Nunez activated her body-worn camera upon her arrival at the

    scene, as she initially approached the ongoing use of force, she turned off her camera and left it

    off for the following six minutes, even though she remained on scene and observed the active use

    of force against Elijah.

           160.    Defendant Nunez directly observed Defendants Roedema and Rosenblatt

    continuing to use force against Elijah, including but not limited to the application of several

    hundred pounds of combined pressure to his back and legs, the use of below-described pain

    compliance techniques by Defendant Roedema, and the ongoing use of restraints even as Elijah

    continued to vomit and offer zero resistance.

           161.    Defendants Marrero and Dittrich next arrived, approximately one minute after

    Defendants Ward and Root had arrived.

           162.    Defendants Marrero and Dittrich approached the ongoing use of force, and

    observed Defendants Roedema and Rosenblatt continuing to unnecessarily and excessively

    restrain and apply pressure to Elijah as he vomited and begged for his life.

           163.    Defendants Marrero and Dittrich reported checking in on the officers actively

    using force to ensure that the officers were safe and to find out if they required assistance. As

    their conduct reflects, they completely failed in their legal duty to ensure Elijah’s safety, too.

           164.    Defendant Marrero provided Defendant Rosenblatt with some sanitary wipes so

    that he could clean his hands as he continued his use of excessive and unnecessary force against
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    Elijah.

              165.   Though Defendants Marrero and Dittrich each came within feet of Defendants

    Rosenblatt and Roedema, and each observed Defendants Rosenblatt and Roedema continuing to

    apply excessive force to Elijah as he begged and vomited helplessly, neither Defendant Dittrich

    nor Defendant Marrero took any action to stop the obvious use of excessive force continuing

    before them.

              166.   Indeed, both Defendant Dittrich and Defendant Marrero made the affirmative

    decision not to activate their body worn cameras as they approached officers’ use of force

    against Elijah McClain.

              167.   As his subordinates continued to abuse Elijah, Defendant Leonard repeatedly

    asked Elijah what drugs he had taken. Exhausted from simply trying to survive but cooperative

    as always, Elijah replied, “Mary,” common slang for the legal drug marijuana. As with every

    other statement Elijah made to APD officers that night, this was the truth—Elijah had used only

    marijuana earlier that day.

              168.   Sergeant Defendant Leonard ignored Elijah’s statement, and later falsely reported

    that Elijah was unresponsive to attempts to communicate with him.

              169.   At approximately this time, Defendants Green, Mullins-Orcutt, Dunson, and

    Nghiem arrived on scene.

              170.   Defendant Nghiem approached the obviously excessive ongoing use of force and

    shined her flashlight on Elijah’s face as he vomited in the grips of Defendants Roedema and

    Rosenblatt. Though she observed and illuminated Elijah’s rapidly worsening medical condition

    from a scant few feet away, Defendant Nghiem took no action to prevent the further use of

    excessive force against Elijah or to ensure his safety.
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            171.    Defendant Nghiem did not activate her body-worn camera.

            172.    Defendant Mullins-Orcutt also observed as Elijah vomited through the continuing

    restraint by Defendants Roedema and Rosenblatt.

            173.    Defendant Mullins-Orcutt heard Elijah asking about his telephone. Upon a brief

    search of the immediate area, he discovered a cell phone with a red case, which he laid next to

    Elijah as the use of force continued.

            174.    Even though Defendant Mullins-Orcutt directly interacted with Elijah and came

    within feet of him, he did not activate his body-worn camera.

            175.    Defendant Mullins-Orcutt also made the affirmative decision not to intervene to

    stop offers’ ongoing use of excessive and unnecessary force, or to ensure Elijah’s safety.

            176.    Defendant Dunson also observed the obviously excessive ongoing use of force

    against Elijah, getting close enough to Elijah to observe and report that Elijah was

    communicating with officers on scene.

            177.    Defendant Dunson did not activate his body-worn camera.

            178.    Defendant Dunson also made the affirmative decision not to intervene to stop

    offers’ ongoing use of excessive and unnecessary force, or to ensure Elijah’s safety.

            179.    Defendant Green stood only approximately five feet away from Elijah, closely

    observing as Defendants Roedema, and Rosenblatt continued to unjustifiably inflict force on him

    and discussing the situation with Defendant Roedema.

            180.    Elijah informed APD Defendants on several occasions that his movements were

    involuntary, that the officers’ application of force was causing him significant pain, and that he

    was having difficulty breathing. In one instance, he pleaded, “Oh yeah, I’m sorry, I wasn’t trying

    to do that. It’s just, I can’t breathe correctly.”
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               181.   APD Defendants ignored Elijah’s pleas and explanations that his movements were

    involuntary and were the result of the ongoing excessive use of force against him.

               182.   Defendant Green did not just fail to intervene to stop the ongoing excessive force

    or ensure Elijah’s safety, he made the affirmative decision to join in his colleagues’ sadistic

    torture of an innocent young Black man.

               183.   Defendant Green, a K-9 officer, took the opportunity to further terrify Elijah in

    the finest tradition of racist American policing, enthusiastically threatening, despite Elijah’s total

    compliance, to sic his dog on the handcuffed, helpless Black man: “Dude, if you keep messing

    around, I’m gonna bring my dog out; he’s gonna dog-bite you, you understand me? Keep

    messing around.”

               184.   Shortly thereafter, Defendant Green replaced Defendant Rosenblatt in pinning

    down Elijah’s legs, and Defendant Rosenblatt joined Defendant Leonard to continue observing

    the use of excessive force and to discuss the events of the contact prior to Defendant Leonard’s

    arrival.

               185.   Defendant Rosenblatt told Defendant Leonard at this point that Defendant

    Roedema had specifically stated that Elijah attempted to grab Defendant Rosenblatt’s gun after

    the officers pushed Elijah up against the brick wall. However, Defendant Rosenblatt would later

    inconsistently tell investigators that he actually didn’t know which Defendant’s gun was

    supposedly grabbed at all.

               186.   In defiance of all evidence, Defendant Rosenblatt advised Defendant Leonard that

    Elijah’s behavior had grown more erratic as the officers marched him from the sidewalk to the

    brick wall. Still seeking justification for his subordinates’ violent actions, Defendant Leonard

    inquired as to what the increasingly erratic behavior consisted of, but Defendant Rosenblatt
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    could identify no such behavior other than that Elijah was “saying things” and “holding his arms

    in.”

           187.    As he observed Defendant Roedema’s continuing torture of Elijah without

    intervening, Defendant Leonard asked Defendant Roedema if he needed relief; Defendant

    Roedema declined, choosing to remain in a position in which he could continue to inflict

    needless force on Elijah.

           188.    A few minutes later, having concluded her phone call with the 911 caller,

    Defendant Ward returned to the immediate area of the use of force to speak with Defendant

    Leonard.

           189.    Defendant Root followed Defendant Ward back toward the immediate area of the

    use of force; as he approached the ongoing use of force, Defendant Root turned off his body-

    worn camera. As before, Defendants Root and Ward observed the ongoing use of excessive force

    and chose not to intervene.

           190.    Defendant Leonard inquired as to whether Defendant Ward’s call to the reporting

    party had yielded anything.

           191.    Defendant Ward responded in the negative, and advised Defendant Leonard that

    the 911 caller just thought it was weird that Elijah had been wearing a mask and making hand

    gestures.

           192.    Defendant Ward did not receive any information from the 911 caller that would

    have provided APD officers with legal justification to stop or seize Elijah, or continue the

    unlawful seizure that was occurring.

           193.    In fact, Defendant Ward directly asked the 911 caller whether Elijah had

    threatened him, and the 911 caller responded in the negative.
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           194.      Shortly after she made her report to Defendant Leonard, Defendant Ward joined

    Defendants Roedema and Green in unjustifiably restraining Elijah, positioning herself near

    Elijah’s head.

           195.      As the additional APD personnel arrived, Defendants Rosenblatt and Green

    continued to exert unnecessary and excessive force by forcefully pushing Elijah’s legs against

    the ground while Defendant Roedema imposed his considerable weight on Elijah’s upper body.

    The officers alternated between positioning Elijah so he was lying face-down on his stomach and

    lying on his side.

           196.      Though Defendant Roedema could easily have controlled the handcuffed Elijah

    through his simple presence or through light physical contact, he instead opted to inflict another

    unnecessary and excessive pain compliance technique. Defendant Roedema drove his knee into

    Elijah’s left arm between the bicep and triceps, causing them to painfully separate.

           197.      Defendant Roedema would later tell investigators that the explicit purpose of this

    technique was to cause pain and to thereby gain compliance.

           198.      Elijah was already clearly subdued and entirely submissive. There was no need to

    gain compliance, and no law enforcement purpose behind Defendant Roedema’s use of the pain

    compliance technique; he was simply torturing Elijah.

           199.      Without any justification, Defendant Roedema repeatedly inflicted this pain

    compliance technique on Elijah throughout the APD interaction—sometimes for minutes on end.

    Defendant Leonard later reported that he grew increasingly concerned that Elijah was in need of

    emergency medical attention as the officers awaited the arrival of AFR; yet, Defendant Leonard

    took no action to prevent his subordinate officers from continuing to inflict excessive and

    unnecessary force on Elijah.
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            200.    Elijah retched and vomited repeatedly as the APD officers awaited the arrival of

    AFR.

            201.    APD Defendants issued Elijah a confusing mishmash of contradictory orders as

    he retched and vomited from their continued abuse. While some officers advised Elijah to vomit

    and “get it out,” others, especially Defendant Roedema, treated Elijah’s involuntary movements

    as he helplessly vomited as intentional resistance.

            202.    Defendant Roedema repeatedly commanded Elijah to stop, roughly jerked Elijah

    around on the ground, and continued to inflict the muscle-separating pain compliance technique

    to Elijah’s left arm.

            203.    Similarly, when Elijah made involuntary motions in response to Defendant

    Roedema’s repeated applications of the pain compliance technique, Defendant Roedema shouted

    at Elijah and intentionally inflicted further pain on him. Defendant Roedema directed another

    APD Defendant to place pressure on Elijah’s ankle as Defendant Roedema continued to apply

    the pain compliance technique to Elijah’s left arm.

            204.    Despite his professed concern for Elijah’s health, Defendant Leonard also

    personally participated in the excessive force, stepping on Elijah’s lower legs and leaning on

    them with the bulk of his body weight as Defendant Roedema persisted in torturing Elijah.

            205.    Though Defendants Nunez, Leonard, Ward, Marrero, Dittrich, Root, Dunson,

    Nghiem, Green, and Mullins-Orcutt each observed the continuing infliction of pain compliance,

    physical manhandling, body-weight pressure, and other force on Elijah as he continued to vomit

    and grow more apparently in need of medical attention, no APD officer took any action to

    prevent the continuing torture of Elijah and save his life. All of these Defendants were aware at

    the time that Elijah was not resisting and that there was no justification for subjecting him to any
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    force.

             206.   Disregarding Elijah’s repeated vomiting and pleas that he was struggling to

    breathe, all APD Defendants failed to keep Elijah in a recovery position on his side and instead

    repeatedly lay him on his stomach even though they plainly had the manpower to easily ensure

    he remained on his side and, like all law enforcement officers, knew the dangers of restraining

    someone lying face-down.

             207.   APD Defendants subjected Elijah to at least the above-described force over the

    course of approximately 18 minutes.

             208.   Elijah had committed no crime nor was he suspected of committing any crime,

    and at no point attempted to strike or otherwise harm any APD officer or anyone else. Yet, the

    APD Defendants unlawfully seized Elijah; tackled him to the ground; inflicted a variety of

    painful and dangerous control holds and the crushing force of their collective body weight;

    tortured him with plainly unnecessary pain compliance techniques—even during the

    approximately fifteen minutes after they handcuffed him—and threatened him with electrocution

    and the bite of a police dog, among other forceful and terrorizing actions.

             E. Despite ample evidence to the contrary, AFR Defendants falsely, recklessly, and
                intentionally claimed that Elijah was experiencing so-called “excited delirium.”

             209.   Aurora Fire Rescue personnel arrived at the scene approximately nine minutes

    after Defendant Woodyard initially seized Elijah. From the start of the encounter, their conduct

    toward Elijah was appalling.

             210.   Defendant Leonard repeatedly advised the AFR personnel that Elijah had been

    subjected to carotid holds and may have briefly been unconscious.

             211.   Despite these advisements, Defendant AFR Paramedics Jeremy Cooper and

    Lieutenant Peter Cichuniec later denied knowledge that Elijah had been subjected to carotid
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    holds and had possibly been unconscious prior to their arrival.

            212.       Defendant Cooper repeatedly told the APD Defendants in contact with Elijah,

    including at least Defendants Roedema and Green, to place Elijah on his side. Though the

    numerous officers on scene could easily have done so, they intentionally kept Elijah on his

    stomach for an extended period instead. Yet Defendant Cooper failed to insist that Elijah be

    placed on his side, despite his medical training of the need to do so.

            213.       AFR Defendants made little or no effort to medically evaluate or assess Elijah, to

    interact with him about his medical state, or to intervene in APD Defendants’ conduct to ensure

    Elijah’s safety.

            214.       Rather, despite the lack of any objective indication that Elijah was suffering from

    excited delirium or was at significant risk of harm because of it, AFR Defendants very quickly

    decided that they would give Elijah ketamine.

            215.       Defendants Cooper and Cichuniec then intentionally and recklessly reported false

    observations in order to claim that Elijah suffered from excited delirium, even though Elijah did

    not display the symptoms of that condition sufficient to diagnose it, such as paranoia,

    hallucinations, incoherent speech or shouting, hyper-aggression, increased strength, or extreme

    agitation.

            216.       Defendant Cooper falsely insisted to APD investigators that he never heard Elijah

    use coherent speech, and never heard Elijah even form words.

            217.       Body camera footage reveals that Defendant Cooper was observing Elijah while

    standing approximately one foot away from his head as Elijah loudly begged Defendant

    Roedema for mercy, saying “Stop, please!”

            218.       When Defendant Roedema replied, “Then stop fighting us,” Elijah replied,
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    entirely coherently, “I’m trying,” indicating that his movements were involuntary.

              219.   Shortly thereafter, Elijah even directly begged Defendant Cooper and another

    nearby AFR firefighter, pleading with them: “Pease help me!” Defendant Cooper ignored

    Elijah’s plea.

              220.   Similarly, Defendants Cooper and Cichuniec lied to APD investigators about

    observing Elijah resisting the APD officers.

              221.   Defendant Cichuniec falsely claimed that Elijah was fighting off officers and

    throwing them off, but body-worn camera footage—including from the time period in which

    Defendant Cichuniec was present—demonstrates that Defendant Cichuniec’s claimed

    observations are false; Elijah neither fought with the APD officers, nor did he throw anyone off

    of him.

              222.   Defendant Cooper falsely told APD investigators that he observed that Elijah was

    hyper-aggressive and had unusual strength. Body-worn camera footage likewise demonstrates

    that Defendant Cooper witnessed neither of these non-existent symptoms; in fact, Defendant

    Cooper witnessed Elijah begging for his life as Defendant Roedema tortured him and jerked him

    around like a rag doll.

              223.   The AFR Defendants made these false claims to police investigators in a

    transparent effort to justify their false claim that Elijah had excited delirium, which is often said

    to be characterized by aggressive, violent behavior and nonsensical speech—none of which

    Elijah actually presented.

              224.   As Defendant Cooper continued to observe Elijah, Defendant Cichuniec asked

    Defendant Cooper if he needed narcotics to administer to Elijah. Defendant Cooper replied in the

    affirmative.
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           225.    Defendant Cichunic then further asked whether Defendant Cooper wanted to use

    narcotics or ketamine. Defendant Cooper requested ketamine.

           226.    The AFR paramedics did not carry ketamine themselves; instead, a private

    ambulance company provided ketamine to AFR paramedics

           227.    As Elijah’s health continued to erode under the weight of Defendants Roedema

    and Rosenblatt and the pain inflicted by Defendant Roedema and other APD Defendants,

    Defendant Cichuniec walked away from the scene and radioed to the private ambulance

    company that they were going to need ketamine.

           228.    Defendant Cooper announced to the nearby APD defendants that he was going to

    administer ketamine to Elijah. Defendant Rosenblatt enthusiastically responded, “Yep, sounds

    good!” Defendant Roedema also greeted the idea of ketamine with excitement, telling Defendant

    Cooper, “Perfect, dude, perfect.”

           229.    Several more minutes passed before the ambulance arrived with the ketamine.

           230.    The Scope of Practice Waiver the Colorado Department of Public Health and the

    Environment granted AFR Medical Director Dr. Eric Hill, which allowed for the AFR

    Defendants to administer medication under his medical license, provided limited circumstances

    under which ketamine could be used. Its administration was limited to “[p]atients who meet the

    clinical criteria for excited delirium and/or [are] severely combative which poses a physical

    danger to personnel on scene.”

           231.    AFR Defendants did not observe any symptom indicating that Elijah met the

    criteria for excited delirium and/or was severely combative, posing a physical danger to

    personnel on the scene. Elijah was not fighting with APD officers or anyone else. He was

    coherent and responded to APD and AFR Defendants who spoke to him. He was not
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    hallucinating. He was not hyperthermic or sweating profusely. He was not naked or undressing.

    He did not have any indications of having taken stimulant drugs, nor of psychiatric illness.

           232.    As the AFR Defendants waited for the ambulance with the ketamine, they

    observed Elijah on the ground. Elijah scarcely moved at all, other than to vomit, as the APD

    Defendants continued to inflict needless pain compliance techniques. On one occasion,

    Defendant Roedema slammed Elijah to the ground when Elijah pushed himself up slightly to

    vomit—with Elijah’s arms still cuffed behind his back.

           233.    Still, neither AFR Defendant followed their medical training to ensure that APD

    Defendants put Elijah on his side to minimize the known risk of aspiration, despite knowing he

    had previously vomited and/or observing his obvious vomiting.

           234.    Throughout the entire time they were on scene, the AFR Defendants observed that

    Elijah did not exhibit symptoms of excited delirium.

           235.    Both AFR Defendants later falsely claimed that Elijah was actively resisting the

    officers on top of him throughout their time at the scene, even though body camera footage

    reveals this is obviously false. Whether from implicit or explicit bias, the AFR Defendants

    repeatedly reported false observations that painted a small passive Black man, begging for his

    life, as some sort of dangerous beast that needed to be injected with a tranquilizer.

           236.    In fact, Elijah was so thoroughly subdued that Defendant Roedema took the

    opportunity to demonstrate his muscle-separating pain compliance technique to Defendant Ward.

           237.    By this time, as a result of the various forms of excessive force and physical

    exertion from simply trying to survive as detailed above, Elijah was suffering from a condition

    known as metabolic acidosis, which occurs when panic and strenuous physical activity

    (including the struggle to survive) cause a dramatic increase in lactic acid in the blood, leading to
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    a significant drop of the blood’s pH.

           238.    Along with the general physical exertion of the force to which APD Defendants

    subjected Elijah, the carotid holds executed by Defendant Rosenblatt and Defendant Woodyard

    substantially contributed to and worsened the metabolic acidosis.

           239.    Metabolic acidosis can lead to organ failure and death.

           240.    Furthermore, the combination of a carotid holds, pressure on Elijah’s torso, and

    acid buildup from exhaustion caused him to vomit, and restriction of his movement by police

    restraint caused Elijah to aspirate.

           241.    Thus, the excessive force the officers collectively subjected Elijah to was very

    significant and contributed to his later death. His severe metabolic acidosis and aspiration,

    caused by the physical restraint, force, and carotid holds that APD Defendant Officers

    Woodyard, Roedema, Rosenblatt, Green, and Ward and Sergeant Leonard unjustifiably applied

    in concert to Elijah, combined with the respiratory acidosis caused by the ketamine overdose

    administered by paramedics (discussed below), directly led to his death. Indeed, it is possible, or

    even probable, that Elijah would have died from the acidosis and aspiration caused by the

    restraint and force by the APD Defendants alone, even without the ketamine.

           242.    In addition to being a cause of Elijah’s death, the APD Defendants’ excessive use

    of force caused him unimaginable terror and excruciating pain over an extended period of time

    as his life was extinguished.

           F. AFR Defendants compounded Elijah’s worsening medical condition by giving
              him a dangerous overdose of ketamine, which, combined with the acidosis
              caused by the excessive force, caused Elijah’s death.

           243.    Upon the eventual arrival of the ambulance, the AFR Defendants requested that a

    paramedic with the private ambulance company draw 500 milligrams of ketamine to be
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    administered to Elijah.

           244.    AFR’s protocol for the use of ketamine in excited delirium patients specifies that

    patients should be dosed with five milligrams of the drug per kilogram of bodyweight (5 mg/kg).

           245.    Elijah weighed 65 kilograms (143 pounds); at that weight, per the AFR protocol

    and generally accepted standards of care in the medical community, the appropriate dosage for a

    person actually experiencing excited delirium (which Elijah clearly was not) would have been

    325 milligrams.

           246.    The paramedic from the private ambulance company later reported that Defendant

    Cooper failed to discuss Elijah’s weight and the appropriate weight-based dosage of ketamine for

    Elijah when requesting the dose of 500 milligrams.

           247.    Defendant Cooper falsely advised the paramedic from the private ambulance

    company that Elijah was exhibiting signs of excited delirium, even though he had not observed

    sufficient signs or symptoms of excited delirium to make such a diagnosis, and had in fact heard

    statements by Elijah that excluded excited delirium as a potential diagnosis.

           248.    It was not appropriate to administer ketamine in any amount, but even if it had

    been, the 500 milligrams of ketamine that the AFR Defendants requested constituted a

    substantial overdose of the drug.

           249.    As the AFR Defendants knew, a dose of 500 milligrams of ketamine for a person

    of Elijah’s weight is well above the limit of what is considered to be medically safe.

           250.    Defendant Paramedic Cooper injected the 500 milligrams of ketamine into

    Elijah’s right deltoid with the assistance of APD Defendants, including at least Defendants

    Roedema, Ward, and Green.

           251.     As Defendant Cooper performed the injection, Defendant Roedema instructed
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    Defendant Ward to be prepared to inflict yet another pain compliance technique, urging her to

    drive her fingers into Elijah’s neck in the event that he began fighting during the injection. Elijah

    did not offer any resistance.

           252.    Despite their awareness of its risks, AFR Defendants failed to closely monitor

    Elijah’s condition for the critical minutes after the administration of the ketamine.

           253.    No APD or AFR Defendant made any attempt to assess Elijah’s breathing or vital

    signs as they waited for the ketamine to take effect, even though Defendant Cooper later told

    investigators that he was aware that respiratory depression was a potential effect of ketamine.

           254.    Respiratory depression and arrest following ketamine administration is an

    expected outcome of ketamine administration, requiring close monitoring and potentially

    immediate intubation to protect the airway. AFR Defendants failed to provide this timely and

    necessary monitoring, delaying necessary intubation that may have saved Elijah’s life had it

    occurred sooner.

           255.    The AFR Defendants asked the APD officers to remove Elijah’s handcuffs so that

    he could be moved to a gurney and taken into the ambulance. Demonstrating his complete

    disregard for Elijah’s health, Defendant Roedema refused this medical directive and insisted that

    the handcuffs be removed after Elijah had been moved. There was no conceivable reason for this

    failure to tend to Elijah’s medical condition, as Elijah was totally passive. Still, the AFR

    Defendants demurred to Roedema’s directive, and no APD Defendant intervened.

           256.    The officers and paramedics moved Elijah’s limp body to the gurney

    approximately three minutes after the ketamine injection.

           257.    Approximately 40 seconds later, Elijah began to take labored, abdominal-

    breathing, agonal breaths, a sign that he was struggling to breathe at all in a moment when his
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    body desperately needed to hyperventilate to relieve the deadly effects of the acidosis.

           258.    As the blood pH drops, the body’s natural response is to increase the rate and

    depth of breathing—hyperventilation. Hyperventilation is critical to the body’s efforts to

    maintain the blood pH at a level that can sustain life during an instance of metabolic acidosis.

           259.    Agonal breathing is often a symptom of a severe medical emergency, such as

    stroke or cardiac arrest.

           260.    The officers and paramedics moved Elijah into the private ambulance.

           261.    The paramedic from the private ambulance company reported that approximately

    one minute after Elijah was moved to the ambulance—approximately four-and-a-half minutes

    after the ketamine injection—the paramedics noticed that he was not breathing and had no pulse.

           262.    The medical personnel attempted life-saving measures and rushed Elijah to the

    hospital.

           263.    Elijah never regained consciousness. He could not overcome the massive damage

    to his body caused by the unmitigated acidosis and aspiration from the excessive force inflicted

    on him, combined with and exacerbated by the respiratory depression from the ketamine.

           264.    The administration of ketamine at a dose higher than what was appropriate for

    Elijah’s body weight worsened the acidosis by suppressing his breathing further and preventing

    him from clearing his airway. The AFR Defendants’ failure to take appropriate steps to promptly

    monitor and care for Elijah, including preparation for immediate intubation or resuscitation,

    further led to lack of oxygen to his brain and brain death.

           265.    Elijah was pronounced dead on August 27, 2019, after several days on life

    support. He was taken off life support on August 30, 2019, and his organs were donated for the

    benefit of others.
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           266.    Elijah committed no crime, yet, like many interactions between Black people and

    the City of Aurora, his ended in tragedy. In a span of eighteen minutes, Defendants subjected

    Elijah to a procession of needless and brutal force techniques and unnecessary, recklessly

    administered medication, the combined effects of which he could not survive.

           G. The AFR Defendants offered contradictory reasoning for the ketamine overdose.

           267.    The AFR Defendants each later told APD investigators that they were responsible

    for the ketamine dosage, and also offered contradictory stories for how they arrived at the

    decision to use the dangerous, incorrect dosage of this powerful drug, which they had no

    legitimate reason to administer to Elijah in any amount.

           268.    Defendant Cichuniec claimed he incorrectly estimated Elijah’s weight at 85

    kilograms (approximately 187 pounds); at that weight, AFR’s 5mg/kg dosage protocol would

    have required a 425-milligram dose, meaning that had Defendant Cichuniec followed the dosage

    protocol, he would still have administered Elijah a dose too large by 100 milligrams.

           269.    Defendant Cichuniec also claimed that the syringe used to draw the ketamine only

    displayed measurements in increments of 1 cubic centimeter—ketamine is distributed in 100

    milligram per cubic centimeter solutions. Defendant Cichuniec stated that he could therefore

    only provide ketamine in 100 milligram increments.

           270.    Defendant Cichuniec reported that he decided to round up to a 500-milligram

    dose rather than down to a 400-milligram dose, even though his AFR training specifically noted

    the dangers of using large doses of ketamine, including respiratory depression.

           271.    Defendant Cichuniec then admitted to investigators that he actually did have the

    ability to prepare a dose of 450 milligrams (which still would have been too high of a dose).

           272.    When asked why he had not rounded up to that figure rather than all the way to
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    500 milligrams, Defendant Cichuniec stated that he had taken into account two medically

    irrelevant and inappropriate factors in making that decision.

           273.    One such factor was Elijah’s behavior at the time of the injection (though the

    evidence shows that Elijah was totally passive and cooperative). AFR’s protocol and accepted

    standards of care do not permit paramedics to alter their dosage of ketamine on the basis of the

    subject’s behavior, or indeed to take any factor other than the patient’s weight into account in

    deciding the appropriate dosage.

           274.    The second such factor was Defendant Cichuniec’s desire not to radio back to

    AFR base for permission to use a second dose of ketamine. AFR protocol requires that

    paramedics receive permission from base in order to administer ketamine beyond the first dose.

    Defendant Cichuniec feared that he would have to go through this slightly inconvenient process

    to gain permission for a second dose if the first dose did not take effect, so he simply gave Elijah

    an overdose to begin with.

           275.    There was no medical basis behind Defendant Cichuniec’s decision to administer

    any ketamine to Elijah, much less what he knew to be an obvious and egregious overdose.

           276.    Defendant Cooper offered APD investigators an entirely different decision-

    making process with regard to the ketamine dosage, stating that he had estimated Elijah’s weight

    to be 100 kilograms (220.46 pounds) and had therefore precisely followed the 5mg/kg protocol

    to arrive at the 500mg dosage of ketamine.

           277.    In fact, Elijah weighed approximately 65 kilograms (143.3 pounds), a difference

    of 35 kilograms (over 77 pounds).

           278.    Defendant Cooper thus administered a dose appropriate for a man of over 50%

    greater body weight than Elijah.
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           279.    Defendant Cooper observed Elijah directly for several minutes prior to the arrival

    of the private ambulance. He had every opportunity to make an appropriate weight estimate, but

    failed to do so. He also, like Defendant Cichuniec, had every opportunity to observe that Elijah

    was not exhibiting signs of excited delirium and there was no justification to medicate him at all.

           280.    Defendant Cooper later contended that part of his error was simply lazy math—he

    had estimated Elijah to be 200 pounds (still 77 pounds too many), which he divided neatly in half

    to reach 100 kilograms.

           281.    Other people on scene did not so wildly misestimate Elijah’s weight. For

    example, the paramedic from the private ambulance company reported that he had not seen

    Elijah prior to providing the AFR Defendants with the amount of ketamine they had requested

    and thus relied on their dosage decision, but once he saw Elijah, he estimated him at 160 pounds

    or approximately 72.6 kilograms. Defendant Roedema likewise estimated Elijah to be “160, 170

    [pounds] at the absolute most, soaking wet.”

           282.    Defendant Cooper’s estimate of 100 kilograms (approximately 220 pounds),

    provided in his after-the-fact interview with APD investigators, appears nowhere in AFR’s

    records of the event; the only recorded estimate of Elijah’s weight is 85 kilograms

    (approximately 187 pounds). This makes the truth of Defendant Cooper’s post hoc assertion

    about how he arrived at the dose somewhat suspicious, and it is far more likely that Defendant

    Cooper later misrepresented what he was his thinking at the time so that he could attempt to

    justify having given Elijah the dose of 500 milligrams.

           283.    Both AFR Defendants also later claimed that although they were aware that the

    AFR protocol required a specific weight-based dosage, they had received training to ignore that

    protocol in favor of a highly dangerous set of informal guidelines: 500 milligrams of ketamine
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    for “large” patients, 400 milligrams of ketamine for “medium” patients, and 300 milligrams of

    ketamine for “small” patients.

           284.    Of course, Elijah was not a “large” patient by any stretch; he weighed 143 pounds

    (65 kilograms). Defendant Rosenblatt described him as “skinny” and “slim.”

           285.    Given the several minutes that Defendant Cooper—a man who claims 25 years’

    experience as a paramedic—spent observing Elijah prior to injecting him with ketamine, it is less

    than plausible that he made such a wildly inaccurate estimate of Elijah’s weight, or that he

    believed Elijah to be “large.”

           286.    AFR ketamine training specifically noted that “everyone gets 500 mg” is poor

    practice; yet, that appears to be exactly the practice that AFR Defendants elected to use, and a

    common practice among AFR paramedics, as described below. AFR Defendants’ reckless

    decision, in total disregard for Elijah’s wellbeing and rights, to use ketamine despite the absence

    of any medical justification to do so, combined with the prolonged and excessive use of force

    and restraint against Elijah by APD Defendants, cost Elijah his life.

           H. Multiple APD Defendants intentionally tampered with, turned off body cameras,
              or directed others to move or turn off body cameras such that the body cameras
              failed to capture critical moments of the use of force.

           287.    Though Defendants Woodyard, Rosenblatt, and Roedema were each equipped

    with a body-worn camera, each of the three officers shed their cameras almost as soon as the use

    of force began.

           288.    Defendant Woodyard’s camera came off as the officers moved Elijah off the

    sidewalk toward the brick wall. Defendant Rosenblatt’s camera came off seconds later.

    Defendant Roedema’s camera came off as he dove in to join the assault on Elijah after Defendant

    Woodyard tackled Elijah to the ground.
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           289.    Because of their dislodged cameras, no APD body-worn camera captured video

    footage of the carotid holds exerted by Defendants Rosenblatt and Woodyard, Defendant

    Rosenblatt’s threatened use of his Taser to menace Elijah, Defendant Roedema’s repeated

    infliction of the armbar hammerlock pain compliance technique, these Defendants’ use of their

    bodyweight to crush Elijah, or any of the force used between Defendant Woodyard’s initial

    tackle of Elijah and his placement in handcuffs.

           290.    The above-described forms of force that Defendants inflicted on Elijah during the

    period when he was on the ground before he handcuffed include only those that Defendants

    Rosenblatt, Roedema, and Woodyard described to APD investigators. Indeed, they may have

    inflicted additional force that they did not report.

           291.    Had the officers kept their body-worn cameras attached to their bodies, the Court

    and the public might be afforded a much fuller accounting of the force used against Elijah.

           292.    Instead, Defendants Roedema, Rosenblatt, and Woodyard attempted to eliminate

    such potentially probative, objective video evidence from nearly the moment they seized Elijah,

    with the hope that their own highly biased (but wholly conflicting) reports would be the only

    source of information about Elijah’s actions and their own as they handcuffed him.

           293.    The body-worn cameras used by APD are designed with a locking system to

    prevent cameras from falling off in the course of rigorous police work. They are designed to hold

    fast, and can be only engaged or disengaged with deliberate motion.

           294.    Given the precise motions required to dislodge body-worn cameras from their

    clips, and the design of the clips to hold the cameras fast through active police duties, the odds

    that Defendants Woodyard, Roedema, and Rosenblatt would all accidentally lose their own

    body-worn cameras, all within the space of seconds of each other, are vanishingly small.
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             295.   Later during the encounter, after Defendants Roedema and Woodyard had

    handcuffed Elijah and additional APD personnel had begun to arrive, APD Defendants took

    additional action to prevent body-worn cameras from capturing further footage of the use of

    force.

             296.   Defendant Roedema picked up his own body-worn camera shortly after Elijah

    was handcuffed. As Elijah continued to cry out to the officers that he was in pain, Defendant

    Roedema deactivated the camera without a word. He later handed the camera to another officer,

    and advised that he had turned it off because it had been damaged, even though it had been

    recording.

             297.   Minutes later, Defendant Rosenblatt picked up his body-worn camera. Defendant

    Rosenblatt pointed the camera towards Elijah, almost immediately capturing a statement from

    Elijah that he was in pain and having difficulty breathing. In response, Defendant Roedema

    pointedly directed Defendant Rosenblatt, “Move your camera, dude.”

             298.   Defendant Rosenblatt ultimately shut off his own body-worn camera after

    Defendant Woodyard made a hand signal to him to step aside and speak with him. Defendant

    Rosenblatt intentionally shut off the camera while the use of force against Elijah was still

    ongoing and never reactivated it.

             299.   An AFR firefighter recovered Defendant Woodyard’s camera after Elijah had

    been moved to the gurney and taken toward the ambulance. Defendant Ward took Defendant

    Woodyard’s camera, still recording, from the AFR firefighter, and walked toward a group of

    APD Defendants including Defendants Woodyard and Rosenblatt, among others. Defendant

    Leonard—one of the two sergeants on scene—directed Defendant Ward to turn off the camera,

    and she did so immediately, then turned off her own body-worn camera as well.
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              300.   As noted above, though Defendants Marrero, Dittrich, Mullins-Orcutt, Dunson,

    and Nghiem each closely observed the use of force against Elijah and came within feet of Elijah,

    each of them made the decision not to activate their body-worn cameras.

              301.   Defendants Nunez, Leonard, and Ward activated their body-worn cameras on

    scene, but each of them stopped recording for periods of multiple minutes over the course of the

    use of force.

              302.   Though Defendant Root initially activated his body-worn camera, he turned off

    the recording when he returned to the immediate area of the use of force after accompanying

    Defendant Ward during her phone call to the 911 caller.

              303.   In choosing not to activate their body-worn cameras at all, or in some cases

    activating the cameras only to deactivate them for minutes-long portions of their time on scene,

    and thereby failing to capture footage of their own conduct and the conduct of their fellow

    Defendants as they interacted with Elijah, Defendants Marrero, Dittrich, Mullins-Orcutt,

    Dunson, Root, Nunez, Leonard, Ward and Nghiem violated APD’s body-worn camera activation

    directive.

              304.   At the time of the encounter with Elijah, APD Directive 16.4.3 Body-Worn

    Camera Operation read in relevant part as follows: “On duty officers shall activate the camera’s

    recording capabilities as soon as practical when: (1) Contacting a citizen or confronting an

    incident unless such activation is not feasible. (2) Anytime the officer determines that a video or

    audio file needs to be captured for evidentiary purposes such as a member-involved critical

    event.”

              305.   Shortly after Elijah was placed into the ambulance, several APD Defendants

    gathered to get their story straight, including at least Defendants Woodyard, Roedema,
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    Rosenblatt, Ward, Green, Leonard, and Nunez. In order to conceal the substance of their

    conversation, each of these Defendants either deactivated their body-worn camera to join this

    discussion or had already dropped their body-worn camera.

            306.    The extensive efforts in which the APD Defendants engaged to ensure that their

    actions and inactions toward Elijah were not recorded raise a strong inference that they knew

    they their conduct was wrong.

            307.    Aurora did not punish any of its officers—including the two sergeants—who

    intentionally violated its written body camera policy as they killed Elijah McClain.

            I. To attempt to justify the use of excessive force against Elijah, APD charged
               Elijah with aggravated assault against a police officer, despite the lack of any
               objective evidence supporting the charge.

            308.    In order to justify their deadly use of force against Elijah, APD Defendants

    charged Elijah with aggravated assault, a felony.

            309.    As discussed below, it is the common custom, practice, and de facto policy of the

    Aurora Police Department to falsely charge citizens who are subject to police force with crimes

    in order to justify the use of force by police.

            310.    Defendant Ward falsely reported that Elijah had assaulted Defendants Woodyard,

    Roedema, and Rosenblatt with his hands, fists, or feet.

            311.    Though Defendants Woodyard, Roedema, and Rosenblatt each falsely claimed

    that they escalated their use of force against Elijah due to his alleged attempt to grab one of the

    officers’ guns (though they could not agree whose, or how), Defendant Ward made no mention

    of any of the various conflicting versions of those purported events.

            312.    The notion that Elijah assaulted Defendants Woodyard, Roedema, and Rosenblatt

    with his hands, fists, or feet is belied by the evidence gathered by APD investigators.
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           313.     No APD officer reported that Elijah punched, kicked, or otherwise attempted to

    harm them in any way.

           314.     Defendant Roedema told investigators that Elijah never attempted to strike any of

    the APD Defendants in any manner.

           315.     With no evidence to support this totally false allegation against Elijah, Aurora’s

    offense report included a notation typically used to denote that the suspect was a member of a

    gang or other criminal organization.

           316.     No APD officer at any time had any basis to suspect Elijah was involved in any

    gang or criminal organization.

           317.     Elijah never was a member of or otherwise involved with any gang or criminal

    organization.

           318.     The inclusion of the gang-related notation in the APD General Offense report

    reflects APD’s application of the common racist stereotype of Black people as gang members, as

    well as APD’s desire to falsely paint Elijah as a criminal in order to justify its own violent

    conduct towards him.

           J. Defendant Aurora’s customs, policies, and/or practices within the APD caused
              the violations of Elijah’s constitutional rights.

           319.     APD Defendants’ treatment of Elijah was engaged in pursuant to Aurora’s

    custom, policy and/or practice of unlawful conduct, including but not limited to: racially-biased

    policing; aggression and violence when policing Black people; using excessive force in its law

    enforcement practices, particularly against Black people; unlawfully detaining, arresting, or

    charging people, particularly Black people, in order to cover up and justify unconstitutional uses

    of excessive force; failing to discipline officers, or even find the officers engaged in wrongdoing,

    in the face of obvious constitutional violations; and failing to adequately train and supervise
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    APD officers.

              320.   Aurora has a longstanding, widespread, and deliberately indifferent custom, habit,

    practice, and/or policy of condoning and ratifying use of excessive force, particularly against

    Black people. As a result, it has become customary among Aurora police officers to use

    unjustified and excessive force, particularly against Black people, because Aurora has

    communicated to APD officers that such force is authorized and, indeed, expected, and when

    used will be defended or covered up by the supervisory and municipal apparatus of the City.

              321.   It is the longstanding, widespread, and deliberately indifferent custom, habit,

    practice, and/or policy of Aurora to encourage or tolerate law enforcement officers to use race

    and race-based animus as motivating factors in police decisions and actions, as well as to fail to

    supervise and train APD officers in the rights of individuals to be free from such race-based

    decision making in law enforcement. This custom, policy, and/or practice has led to Aurora

    police officers, on a regular basis, using elevated and unjustified levels of force against Black

    people.

              322.   It is the longstanding, widespread, and deliberately indifferent custom, habit,

    practice, and/or policy of Aurora to permit law enforcement officers to use any hesitation to

    comply with an officer’s (legal or illegal) commands—even when officer safety is not

    jeopardized by the hesitation—as justification to use force. In other words, Aurora police officers

    commonly demand immediate and complete submission, especially by Black people, to any

    police directive, no matter the command. Failure to utterly and immediately submit customarily

    triggers hostility, aggression, and violence by Aurora police officers. This custom, policy, and/or

    practice has led to Aurora police officers, on a regular basis, using elevated levels of force,

    especially against Black people, including Elijah.
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              323.   The APD Defendants’ violation of Elijah’s constitutional rights, standing alone, is

    sufficient evidence of Aurora’s herein-described customs, policies, and/or practices because all

    of the involved officers acted in such a similar egregious manner. The sheer number of officers

    involved—all of whom took active part and/or failed to intervene to prevent fellow officers’ use

    of obviously excessive force—makes clear that their actions were caused by APD’s training,

    customs, policies, and practices. Of particular importance, the active and observational

    involvement of Sergeants in the overwhelmingly excessive force and their failure to intervene to

    prevent or reduce the force, also proves that the concerted use of force was pursuant to and

    caused by APD’s official and/or de facto training, customs, policies, and practices.

              324.    Aurora’s unconstitutional customs, policies, and practices are further

    demonstrated by its history of race-based discrimination and brutality as reflected in both a

    statistical analysis of its policing and by the many cases brought by the victims of such brutality,

    and its additional misconduct and cover-up after killing Elijah.

                 1. Aurora’s unconstitutional customs, policies, and/or practices are
                    demonstrated by statistics that Aurora Police are more likely to use force
                    against Black people, even though Black people comprise a minority of the
                    Aurora population.

              325.   APD targets Black people and subjects them to greater force as compared with

    other members of the Aurora community.

              326.   For example, from January 2013 through December 2019, the Aurora Police

    Department ranked 8th out of the 100 largest cities in the United States for most police killings

    per capita. During that same period, APD killed Black people at 4 times the rate it killed white

    people. 3



    3
        Police Accountability Tool, https://mappingpoliceviolence.org/cities (last visited July 9, 2020).
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              327.   Statistical analysis of APD’s recent history with Black people also demonstrates

    the widespread, systemic nature of APD’s unconstitutional pattern of using force against Black

    people. Statistical analyses show that a statistically significant racial disparity exists in APD’s

    use of force against Black people compared to its rate of using force against Caucasians and its

    rate of using force all other races besides Black people. 4

              328.   Statistics show that APD’s use of force per arrest is 1.26 times greater against

    Black arrestees than against arrestees of other races. APD’s deadly and injurious use of force per

    arrest is 1.43 times greater against Black arrestees than against arrestees of other races. APD’s

    use of Taser weapons per arrest is 1.40 times greater against Black arrestees than against

    arrestees of other races. APD’s use of force per arrest was also higher against Black arrestees

    than against only Caucasian arrestees. Black people arrested by APD thus had a

    disproportionately high risk of experiencing use of force compared to arrestees of all other races,

    as well as specifically compared to Caucasians. 5

              329.   In 2017, APD’s rate of use of force per person was 5.5 times greater against Black

    people than people of other races. 6

              330.   Departmental data similarly showed that in 2019, almost half of the people

    against whom APD officers used force were Black, even though Black people only make up 16%

    of Aurora’s population.

              331.   Statistics show that Black people present no higher risk of officer injury during

    arrest than Caucasian arrestees, meaning that risk to officer does not explain APD’s higher use of


    4
        July 14, 2020, Report by Dr. Lance Kaufman of Bardwell Consulting Ltd.
    5
        Id.
    6
        Id.
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    force against Black people relative to Caucasians. 7

              332.    Despite the consistently disproportionate use of force against Black people—the

    percentage of Black people whom APD officers have used force against has stayed between 38%

    and 53% of all APD uses of force since 2014—Aurora’s annual use of force reports do not

    attempt to explain or understand the persistent disparately negative treatment of Black people

    over the course of many years.

                 2. Aurora’s unconstitutional customs, policies, and/or practices are
                    demonstrated by many incidents of unconstitutional brutality by APD,
                    especially against Black victims, and racially-biased policing by APD.

              333.    In addition, many other instances of Defendant Aurora’s similar constitutional

    violations show that use of excessive force by APD officers, especially against Black people and

    other people of color, is customary and the standard operating procedure in the City of Aurora

    Police Department, as is racially-biased policing. This pernicious, racist custom and practice

    persists today.

              334.    For example, on August 2, 2020, APD officers detained and handcuffed Brittany

    Gilliam, a Black woman, and four Black children, including her six-year-old daughter, at

    gunpoint after supposedly mistakenly identifying Ms. Gilliam’s car as a stolen motorcycle. APD

    officers pointed guns at the children and forced them to exit the car and lie on their stomachs; the

    officers handcuffed two of the children behind their backs. The officers likewise forced Ms.

    Gilliam to exit the car at gunpoint, handcuffing her and placing her in the back of a patrol

    vehicle. Video footage of the stop shows the children crying hysterically while surrounded by

    police officers. The use of force by the officers was clearly excessive, and obviously motivated

    by racial profiling.



    7
        Id.
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           335.    On March 1, 2020, an APD officer confronted Dr. P.J. Parmar, a person of color,

    when Dr. Parmar arrived at his business. As Dr. Parmar drove up to his garage, he found an APD

    officer parked on his property. Dr. Parmar stopped immediately and honked. At that point, the

    officer jumped out of his car and swore at Parmar. The officer then pulled out his gun while

    running toward Dr. Parmar’s car. The officer pointed his gun at Dr. Parmar’s head without

    having any reason to believe that Dr. Parmar was committing or had committed a crime, or posed

    any threat to the officer or anyone else. Dr. Parmar calmly and repeatedly asked the officer to

    leave his property, to which the officer repeatedly demanded—without any legal justification—

    that Dr. Parmar prove that it was his property. Instead of leaving, the officer called in two other

    APD officers. APD had no reasonable suspicion much less probable cause for its officers’

    seizure of Dr. Parmar, which was clearly motivated by racial profiling. An excessive force and

    racial profiling lawsuit based on this incident is ongoing.

           336.    On August 27, 2019, just days after Defendants killed Elijah McClain, APD

    Officer Levi Huffine arrested Shataeah Kelly, a Black woman, for a suspected municipal code

    violation. Officer Huffine handcuffed Ms. Kelly and left her hobbled in the back of his patrol

    car. At some point, Ms. Kelly slipped such that she was inverted and her head was at the floor of

    the patrol car in a dangerous and exceedingly uncomfortable position. Though she begged

    Officer Huffine for help, telling him repeatedly that she could not breathe, that her neck was

    breaking, and that she didn’t want to die this way, Officer Huffine ignored Ms. Kelly’s pleas,

    leaving her in the dangerous, painful position for approximately 21 minutes. Officer Huffine did

    not so much as look at her as he drove.

           337.    On April 3, 2019, Aurora Police officers stopped Teddy Tanoris Pittman, a Black

    man, in his vehicle for assertedly failing to use his turn signal. After the officers determined that
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    they were not going to issue Mr. Pittman a citation for his alleged failure to signal, rather than

    letting him leave, they asked him if he was a gang member and demanded that he step out of the

    vehicle so he could be searched for weapons. He refused, and one of the officers removed him

    from the vehicle. A search of his person and vehicle revealed no weapons or illegal contraband.

    No citation was issued or arrest made. Notably, in January 2019, Aurora officers also stopped

    Mr. Pittman when he was driving, allegedly for a defective side headlamp. The same sequence of

    events occurred in which APD officers physically pulled him from his car and then searched his

    person and vehicle, finding nothing. He was cited for the defective headlamp and for failing to

    obey a lawful order; both criminal charges were later dismissed. As to both of these incidents,

    Aurora determined that the officers acted lawfully and within policy, and no discipline was

    imposed. Mr. Pittman brought a lawsuit based on both incidents, alleging, among other things,

    racially selective law enforcement under the Fourteenth Amendment; the equal protection claims

    (among other claims) recently survived a motion to dismiss. Like in Elijah’s case, the officers’

    lack of any other legitimate reason for their initial and continued seizure of Mr. Pittman, as well

    as the search of his person and vehicle, raises the strong inference that unlawful racial profiling

    was the real motivation for the stop and search of Mr. Pittman.

           338.    On November 21, 2018, Jamie Alberto Torres was fixing a car in his garage with

    friends when a neighbor complained about noises coming from the garage. APD officers came to

    Mr. Torres’ home solely to investigate this noise complaint, and one of the officers illegally

    ordered Mr. Torres to exit his garage, threatening to take him to jail. Because Mr. Torres paused

    momentarily before complying with the illegal order, the officer grabbed Mr. Torres, wrenched

    his arm behind his back, picked him up, and slammed him to the ground. Even after handcuffing

    Mr. Torres, the officer continued to attack Mr. Torres by slamming him to the ground again and
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    wrenching his arm behind his back multiple times. During this encounter, Mr. Torres repeatedly

    screamed in pain. To justify their illegal conduct, the APD officers charged Mr. Torres with

    resisting arrest and failure to obey a lawful order. A jury found that Mr. Torres was not guilty of

    these charges at trial. The Aurora Police Department investigated its officers’ use of force

    against Mr. Torres but, as is customary, found no wrongdoing. In 2020, Aurora settled a lawsuit

    based on this incident, claiming excessive force and racial bias, for $285,000.

           339.    In November 2018, APD contacted Tevon Thomas and his companion, a Black

    woman, because a woman had called 911 to report that she was frightened by them sitting in

    their car in her apartment building’s parking lot at around 4:00 a.m. According to the 911 caller,

    Mr. Thomas and his companion “did not belong there.” APD officers contacted Mr. Thomas and

    his friend, who provide the officers with a reasonable explanation for their presence in the

    parking lot and did not give any indication that they posed any danger or threat to the officers or

    anyone else. Nevertheless, APD officers forced Mr. Thomas and his friend to exit the car, with

    the intention of searching the vehicle. Ultimately, a federal judge ruled that although the police

    had a valid reason to contact Mr. Thomas, APD “unlawfully extended and turned [it] into an

    unjustified or extended stop that had, as its motivation and intention, the search of the car and/or

    Mr. Thomas.” Like in Elijah’s case, the officers’ lack of any other legitimate reason for their

    prolonged seizure of Mr. Thomas raises the strong inference that Mr. Thomas’s race was the

    prime motivation. A racial bias and unlawful search lawsuit based on this incident is ongoing.

           340.    On September 6, 2018, APD officers used excessive force when, after responding

    to a car accident involving Andre Williams, a Black man. The officers beat and tased Mr.

    Williams for not responding immediately to their order. Even though Mr. Williams showed no

    signs of aggression or attempting to flee, and in fact was having a seizure, the officers took him
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    to the ground; then, after Mr. Williams had complied with an order to get on his stomach and

    was surrounded by at least three APD officers, the officers punched him in the head, struck his

    legs with their knees, and tased him twice. A lawsuit based on this incident, claiming excessive

    force and racial bias, among other things, is ongoing.

           341.    On July 13, 2017, one APD officer choke-slammed Vanessa Peoples, a Black

    woman, while police were performing a welfare check in her home. Several other APD officers

    then piled on Ms. Peoples. What “provoked” the officers’ attack was Ms. Peoples’ protestations

    of the officers’ misconduct and her failure to be 100% compliant with every single police

    directive (legal or illegal). Eventually, the officers hog-tied Ms. Peoples so tightly that they

    dislocated her shoulder. Despite Ms. Peoples’ continued cries of pain, APD officers kept her

    hog-tied for 30 minutes with her shoulder dislocated. APD officers had no reason to believe Ms.

    Peoples had committed a crime; yet they charged her with obstruction. Those charges were later

    dismissed. Ms. Peoples settled her potential claims against Aurora for $100,000 pre-litigation.

    Aurora did not discipline any of the involved officers for their unconstitutional actions.

           342.    On April 22, 2017, multiple APD officers responded to a car accident that

    involved Brandon Washington, a Black man. When Mr. Washington, who had hit his head on his

    vehicle’s steering wheel during the crash, dazedly attempted to stand up out of his vehicle, the

    officers used excessive force by tasing him repeatedly and subjecting him to a variety of other

    unwarranted physical force, hospitalizing him. Aurora did not discipline any of the involved

    officers for their unconstitutional actions. A lawsuit based on this incident, claiming excessive

    force and racial bias, among other things, is ongoing.

           343.    On September 14, 2016, an APD officer used unwarranted excessive force against

    Dennis Seabaugh while Mr. Seabaugh was detained in an Aurora jail cell. After getting frustrated
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    with Mr. Seabaugh’s repeated but ineffectual attempts to hang himself by tying a t-shirt around

    his neck, the officer stormed into the cell, and without providing Mr. Seabaugh reasonable

    warning, command, or an opportunity to comply, the officer got on top of Mr. Seabaugh and

    smashed his head down while simultaneously applying his body weight to pin Mr. Seabaugh

    down. The officer then smashed Mr. Seabaugh’s face into a bench in the cell multiple times,

    while yanking on his arms; ultimately, the officer used so much force pulling on one of Mr.

    Seabaugh’s arms that he broke Mr. Seabaugh’s humerus bone. Aurora settled Mr. Seabaugh’s

    excessive force lawsuit based on the incident.

           344.    On August 12, 2016, two APD officers responding to a report of a Black man

    with a gun ordered several occupants out of a residence, including then-minor Julian Campbell,

    who was Black. Mr. Campbell came outside as commanded, and subsequently obeyed all orders

    the APD officers gave. Nonetheless, the officers grabbed him, slammed him to the ground,

    handcuffed him, and cited him for disobeying a lawful order. During the subsequent criminal

    trial of Mr. Campbell, the court granted a motion for judgment of acquittal at the end of the

    prosecution’s case. A lawsuit based on this incident asserting, among other things, excessive

    force and racial bias against Aurora and the individual APD officers is ongoing.

           345.    On March 16, 2016, multiple APD officers racially profiled Omar Hassan, a

    Black man, and ejected him from a coffee shop simply because he is a Black man who was

    wearing a hoodie. The Aurora officers acted solely on the basis of Mr. Hassan’s appearance;

    they had no reasonable grounds for suspecting that he was engaged in any criminal conduct.

    Aurora officers told Mr. Hassan that he had to leave the coffee shop, because Mr. Hassan’s “kind

    of business [was] not welcome [t]here.” When he questioned the directive, one officer placed

    her hand on her gun, non-verbally threatening Mr. Hassan with use of deadly force. Upon
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    information and belief, Aurora did not discipline any of the involved officers for their

    unconstitutional actions. Aurora paid Mr. Hassan to settle his legal claims.

           346.    On February 19, 2016, Aurora officers stopped and detained Darsean Kelley

    simply because he was a Black man who happened to be in the vicinity of a reported crime. He

    questioned the officers’ orders and demanded to know whether or not he was being detained. Mr.

    Kelley complied with officers’ orders but also asserted “I know my rights,” just as one officer

    tased him in the back. The Aurora officers conducting the stop had no reason to believe that Mr.

    Kelley had committed any crime or was armed or dangerous. To cover up the illegal stop and the

    unjustified tasing, Aurora charged Mr. Kelley with failure to follow a lawful order. That charge

    was eventually dismissed, but Aurora found no misconduct and did not discipline any of the

    officers involved in this unconstitutional detention and use of excessive force. Aurora paid Mr.

    Kelley $110,000 to settle his legal claims prelitigation.

           347.    On December 22, 2015, several APD officers assaulted OyZhana Williams, a

    Black woman, who was simply visiting her boyfriend in the hospital. When Ms. Williams

    refused the officer’s illegal order that she give him the keys to her car, the officer tackled Ms.

    Williams, choked her, slammed her head against the ground, and then stomped on her head.

    Aurora officers had no probable cause or reasonable suspicion to believe Ms. Williams had

    committed any crime. Yet, to cover up their excessive use of force, the officers charged Ms.

    Williams with a crime and arrested her. The charges were dismissed. Upon information and

    belief, Aurora did not discipline any of the involved officers for their unconstitutional actions.

    Aurora paid over $350,000 to settle Ms. Williams’ claims.

           348.    On November 14, 2015, two Aurora officers ordered Dwight Crews, a 60-year-

    old, disabled Black man, out of his home under threat of force, despite the fact that the officers
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    had no warrant and no legal justification to effect a warrantless arrest in the home. After Mr.

    Crews complied, the officers forcefully threw him to the ground because he had momentarily

    delayed complying with their illegal commands in order to prevent his cat from getting out of his

    house. To cover up their unconstitutional conduct, the Aurora officers charged Mr. Crews with

    resisting arrest. The judge dismissed the charge halfway through Mr. Crews’ trial. Upon

    information and belief, Aurora did not discipline the involved officers for their unconstitutional

    treatment of Mr. Crews. Aurora paid Mr. Crews to settle his legal claims.

           349.    On June 29, 2015, APD officers used excessive force against Jeffrey Gale, an

    unarmed Black man, after a bystander called 911 to report that Mr. Gale had attempted to steal

    someone’s wallet. The bystander reported to the 911 dispatcher that no physical force, threats, or

    weapon were used in the attempted theft. Mr. Gale was 49 years old, 5’7”, weighed

    approximately 150 pounds, and suffered from gout in both ankles. After locating Mr. Gale, two

    APD officers handcuffed him then forced him to the ground, kicking him in the head and back.

    Five more APD officers joined in to hogtie Mr. Gale. After he was handcuffed, hogtied, and

    lying face-down on the ground, the officers tased Mr. Gale at least three times, both in the back

    of his ribs and the back of his head. A later medical evaluation showed Mr. Gale suffering from

    metabolic acidosis from the tasing. All of the officers’ body cams were turned off or the tapes

    destroyed, with the exception of a small portion of video from one officer after Mr. Gale was

    hogtied. Although Mr. Gale could not be seen during most of this one recording, he could be

    heard crying out in pain and begging for the officers to stop. One officer responded to his cries of

    pain by saying, “You better shut the fuck up or this is going to get really ugly for you.” Aurora

    settled an excessive force lawsuit brought by Mr. Gale based on this incident.

           350.    On March 6, 2015, an Aurora police officer used excessive force in the unjustified
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    shooting and killing of Naeschylus Vinzant-Carter, an unarmed Black man. Mr. Vinzant-Carter

    was being pursued by Aurora’s SWAT team, near an elementary school, when he was

    confronted. One officer then opened fire, killing Mr. Vinzant-Carter. Aurora paid $2,600,000 to

    settle Mr. Vinzant-Carter’s claims. Upon information and belief, Aurora did not discipline any of

    the involved officers for this use of excessive force.

           351.    On September 25, 2014, an APD officer used excessive force in arresting Cory

    Scherbarth by using a leg sweep to drop Mr. Scherbarth to the ground despite his lack of

    aggression toward the officer or anyone else, but rather in response to Mr. Scherbarth’s non-

    threatening questioning of the officer about his intentions. After Mr. Scherbarth was handcuffed

    with no resistance, while he was lying on his stomach, APD officers slammed his head into the

    ground and punched him in the face, and one officer pressed his body weight down against Mr.

    Scherbarth with his knee against Mr. Scherbarth’s shoulder. A lawsuit based on this incident

    claiming excessive force against the individual APD officers is ongoing.

           352.    On July 8, 2014, APD officers used excessive force against Gaye O’Malley, a 55-

    year-old Black woman, after she called 911 to request medical assistance for her friend who had

    fallen and injured herself at home. Without justification, an APD officer took Ms. O’Malley to

    the ground using an “arm drag takedown,” a “twist-lock,” and a “prone control hold.” The APD

    officer had a history of unusually aggressive conduct toward citizens, particularly Black people.

    Ms. O’Malley was handcuffed, arrested, removed her from the home, and charged with assault,

    battery, obstructing a police officer, resisting arrest, and obstructing municipal operations.

    Aurora later settled an excessive force lawsuit brought by Ms. O’Malley.

           353.    On July 3, 2014, APD officers used excessive force against Adam Bentz in

    response to his peacefully using his cellphone to record what he perceived as APD unlawfully
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    towing his vehicle. Despite the fact that there was absolutely no indication that Mr. Bentz posed

    any physical threat to APD officers or anyone else, an APD officer grabbed Mr. Bentz around his

    neck, applied constricting pressure, and took Mr. Bentz down to the ground—very similar to the

    actions Defendant Rosenblatt and Defendant Woodyard used against Elijah when taking him to

    the ground. The APD officer maintained the hold of Mr. Bentz’s neck for 80 seconds while other

    APD officers restrained Mr. Bentz’s limbs, leading Mr. Bentz to lose consciousness and stop

    breathing, although he was later revived. The force used against Mr. Bentz far exceeded that

    necessary to arrest him. Aurora later settled a lawsuit brought by Mr. Bentz asserting excessive

    force.

             354.   On June 22, 2012, when APD officers were searching for three suspects described

    as Caucasian, they stopped Stetson Fields, a Black man, despite having no probable cause or

    reasonable suspicion to do so. After Mr. Fields left the encounter, the APD officers chased him

    until they located him behind a bush. Although Mr. Fields complied with the officers’ request to

    come out from the bush and did not pose any threat to the officers, the officers released a police

    dog to attack Mr. Fields, leaving him with injuries.

             355.   On July 23, 2011, an APD officer conducting an impromptu police undercover

    investigation shot and killed Juan Contreras, a Latino man. Mr. Contreras had found a set of lost

    car keys and was attempting to return them to the owner when he was wrongfully suspected of

    committing a minor crime, and APD shot and killed him. Aurora paid $400,000 to settle Mr.

    Contreras’ claims.

             356.   On January 14, 2011, APD officers arrested Jovan McGlothin, a Black man.

    During the arrest, one of the officers used a racial slur to refer to Mr. McGlothin (saying, “we

    have you now, [n-word],” or words to that effect). After two officers had Mr. McGlothin entirely
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    within their control such that he posed no threat to them or anyone else, one of the officers used

    excessive force by kicking Mr. McGlothin in the mouth and chipping one of his teeth. Aurora

    settled an excessive force lawsuit based on this incident.

           357.    On December 18, 2010, Aurora police officers used excessive force in their brutal

    treatment of Rickey Burrell, a Black man lying helpless in his bed after suffering a seizure. The

    officers had responded to a 911 call from Mr. Burrell’s family. Rather than render assistance,

    Aurora officers inexplicably jumped on Mr. Burrell, wrenched his arm behind his back, and

    handcuffed him. The officers proceeded to roughly drag Mr. Burrell outside, though he was clad

    only in underwear that he had soiled during his seizure. Mr. Burrell suffered a wrist fracture and

    other injuries to his back and shoulder as a result of the officers’ actions. Aurora paid $100,000

    to settle Mr. Burrell’s claims. Aurora did not discipline any of the involved officers for their

    unconstitutional actions.

           358.    On May 10, 2009, Aurora police used excessive force in severely beating David

    Walker, a Black man, after responding to a call at his house in Aurora. APD officers unlawfully

    entered the house without a warrant, and tased Mr. Walker at least seven times without any

    reason or justification to do so. APD officers further hit Mr. Walker multiple times with batons,

    and hit and kicked him. ADP’s excessive force caused Mr. Walker to suffered nerve damage. At

    least one of the APD officers involved had an extensive history of excessive force allegations.

    Aurora settled an excessive force lawsuit based on the incident brought by Mr. Walker.

           359.    On February 12, 2009, Aurora police officers used excessive force in effecting the

    arrest of Carla Meza, a Latina woman. Aurora officers responded to a domestic violence report

    after Ms. Meza was accused of assaulting her girlfriend. Officers handcuffed Ms. Meza and

    proceeded to make homophobic remarks towards her before one of the officers kicked her in the
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    head while she was handcuffed, breaking her eye socket. The officer kicked her in the head

    because she refused to comply with his unlawful commands. Surprisingly, even Aurora conceded

    that the officer used excessive force.

           360.    In June 2006, an APD officer choked, slapped, and slammed to the ground

    twelve-year-old Cassidy Tate, a Black girl. The officer had accused the girl’s mother of illegally

    parking in a handicapped spot, despite the fact that Ms. Tate’s mother had a handicap placard

    and used portable oxygen. In contacting Ms. Tate and her mother, the Aurora officer stated, “can

    you believe these fucking N’s,” which was a clear reference to the “n-word.” Ms. Tate’s claims

    settled for $175,000. Not only did Aurora not discipline the officer, it later promoted him. Later,

    the same officer who brutalized Ms. Tate was caught on body camera footage referring to Black

    people as “Alabama Porch Monkeys.” The officer was later terminated by APD, but the City of

    Aurora reinstated him.

           361.    In December 2003, APD officers shot and killed Jamaal Bonner, a young Black

    man, during a prostitution sting. When an Aurora SWAT team burst into his hotel room, Mr.

    Bonner, who was unarmed, stood up in surprise. Aurora officers tased him, causing him to go the

    ground face down. Though Mr. Bonner had already been effectively tased, was surrounded by

    Aurora police officers, and was not armed, an Aurora officer shot Mr. Bonner three times, killing

    him. Aurora did not discipline any of the involved officers for their unconstitutional actions.

    Aurora paid $610,000 to settle the family’s legal claims.

               3. Aurora’s unconstitutional customs, policies and/or practices are
                  demonstrated by APD’s continuing misconduct and cover up after killing
                  Elijah.

                       a. Aurora’s approval of Defendants’ conduct is reflected in its failure to
                          discipline any of the APD Defendants for their role in killing Elijah

           362.    Consistent with APD’s longstanding pattern in response to officers who use
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    excessive force against Black people, APD did not impose any discipline against any of the APD

    Defendants for killing Elijah.

           363.    On February 6, 2020, APD released a statement that the APD Defendants were

    within APD policy and followed APD training in their actions toward Elijah.

           364.    APD specifically confirmed that a Force Review Board had determined that the

    force applied to Elijah was within policy and consistent with training.

           365.    APD’s public statement and failure to discipline any of the APD Defendants

    makes clear that their conduct was carried out pursuant to the customs, policies, practices, and

    training of APD, and that such conduct is customary within APD.

                       b. Defendants Dittrich and Marrero, along with APD Officer Jaron Jones,
                          took photographs at the site where Defendants killed Elijah, reenacting
                          the chokehold that contributed to his death, and sending them to
                          Defendants Rosenblatt and Woodyard as a “joke.”

           366.    On June 30, 2020—shortly after news of Aurora’s murder of Elijah McClain

    gained international prominence—APD Interim Chief Vanessa Wilson announced that multiple

    APD officers were the subjects of a completed internal affairs investigation that had revealed that

    many months earlier, those officers had returned to the scene of Elijah’s killing to take

    photographs of themselves re-enacting elements of that use of force. The photos included

    mimicry of the carotid chokeholds employed by Defendants Rosenblatt and Woodyard.

           367.    The three smiling officers depicted in the photos were Defendant Kyle Dittrich,

    Defendant Erica Marrero, and APD Officer Jaron Jones.

           368.    The actions of Defendants Dittrich and Marrero, along with APD Officer Jaron

    Jones, in creating and distributing smiling photos of themselves reenacting the chokehold that

    killed Elijah at the site of his killing by APD officers, demonstrate that rank-and-file APD

    officers operate under the assumption that racist behavior will be tolerated or approved of by
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    their colleagues.

              369.   The APD officers who participated in the offensive photoshoot, which emulated

    the American racist tradition of white citizens taking photos of themselves at the scenes of

    lynchings, felt so comfortable in doing so that they took the photos in their APD uniforms.

              370.   Indeed, the officers were so unafraid of professional consequence for their racist

    mockery of Elijah’s death that they freely distributed their photos to other APD officers—again,

    emulating the tradition of white, racist American citizens who turned their photographs of

    themselves at lynchings into so-called “lynching postcards” to be mailed to friends and family.

              371.   Defendant Dittrich described the decision to take the photos and to select the

    mocking poses struck by the APD officers as follows: “We had uh Officer Jaron Jones who just

    came back to team 30 after he was on a suspension, um and I just wanted to show Officer

    Woodyard that we were together, um, in solidarity thinking of him. So, I thought it would be

    funny if we took a photo there, and uh the three of us took a photo at the scene. It was just a

    quick, you know one photo, um, we had Officer Jaron Jones put his arm around my head kind of

    in a half buddy-buddy but also sort of as homage to the carotid control hold.” (Emphasis

    added.)

              372.   Defendant Dittrich sent the photos that he had taken with Defendant Marrero and

    Officer Jones to a text message group that included at least Defendant Woodyard, Defendant

    Rosenblatt, Defendant Marrero, Officer Jones, himself, and one other APD officer.

              373.   Defendant Dittrich stated that his purpose in sending the photos to Defendants

    Woodyard and Rosenblatt was to “cheer them up.”

              374.   Defendant Dittrich further noted that one of his purposes in taking the photos was

    to cheer up Officer Jones, who had just returned from a lengthy suspension for drinking and
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    driving. 8

            375.   Defendant Rosenblatt evidently was cheered by the photos, and replied to the text

    message group, “HaHa.”

            376.   Defendants Dittrich, Marrero, and Rosenblatt were ultimately terminated from

    APD as a result of their actions with regard to the photo. Officer Jones resigned from APD prior

    to the imposition of discipline.

            377.   Defendants Woodyard and Rosenblatt both failed report the racist photoshoot to

    their APD superiors upon receiving the photos, demonstrating that APD officers do, in fact,

    protect their colleagues who take racist actions on duty and in uniform. However, Aurora did not

    discipline Defendant Woodyard for his failure to do so.

            378.   Defendants Dittrich, Rosenblatt, and Marrero were never disciplined for their

    actions (and inactions) on the night of August 24, 2019, that caused Elijah McClain’s death,

    evincing Defendant Aurora’s preoccupation with harm to the reputation of its police force rather

    than the physical harm that its officers, including APD Defendants, cause to the Aurora

    community.

                       c. Defendant Aurora falsely, publicly claimed to have hired an
                          “independent” investigator to examine the use of force against Elijah.

            379.   On June 9, 2020, three members of Aurora City Council’s public safety



    8
      APD’s and its officers’ loyalty to protect one another from accountability for misconduct is
    illustrated by their March 2019 treatment of APD Officer Nate Meier, who was found passed out
    drunk behind the wheel of his patrol car while on duty. APD did not conduct a criminal DUI
    investigation of Officer Meier despite the obvious criminality of his actions. APD has continued
    this de facto policy of not conducting criminal investigations of officers who drink and drive. In
    December 2019, APD Officer Annette Brook drove herself to work, where an APD sergeant who
    contacted her believed she showed “signs consistent with the consumption of alcoholic
    beverages.” A portable breath test demonstrated that she had a blood alcohol content at .138,
    well beyond the threshold for a DUI charge, but APD initiated only an internal affairs
    investigation, and did not collect evidence for a DUI investigation.
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    committee—Allison Hiltz, Curtis Gardner, and Angela Lawson—issued a statement calling on

    Aurora City Manager Jim Twombly to order an independent, neutral, third-party review of

    Elijah’s killing.

            380.    In response to the statement, Mr. Twombly claimed that the City had already

    hired an “independent investigator,” Eric Daigle.

            381.    Despite Defendant Aurora’s assurances that Elijah’s parents would be advised and

    kept abreast of any investigation conducted into Elijah’s death, Defendant Aurora never advised

    Elijah’s parents or their counsel of Mr. Daigle’s hiring or activities.

            382.    Mr. Daigle is a police officer, and his firm’s website announces that he has

    devoted a substantial portion of his career as an attorney to representing, counseling, and

    advising law enforcement personnel.

            383.    The website further boasts, “Defending municipalities, police chiefs, and

    individual officers from law enforcement liability claims is, and has been, a significant portion of

    the experience that Attorney Daigle brings to our clients.”

            384.    Indeed, rather than hiring a truly independent investigator to examine the death of

    Elijah McClain and to determine what failures within APD led to such a tragic outcome, it

    appears that Defendant Aurora actually hired a municipal defense attorney to prepare a legal

    defense for itself and the APD Defendants, while publicly claiming that it had complied with

    City Council’s request for an independent, neutral, third-party review.

            385.    Mr. Twombly’s decision to mislead the public and city councilors about Mr.

    Daigle’s role, and to claim that an independent investigation was underway when in fact such

    was only for litigation defense, is emblematic of Defendant Aurora’s efforts to simply appear to

    investigate and address the APD Defendants’ egregious actions, rather than to actually
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    investigate and take accountability for those actions.

           386.     After this breach of trust was publicly revealed and the three council members

    who initially requested an independent, neutral, third-party review of Elijah’s death expressed

    their dissatisfaction with Mr. Twombly’s cynical hiring of Mr. Daigle, Aurora officials

    announced that the City’s contract with Mr. Daigle would be terminated.

           387.     Under significant public scrutiny, a new investigator has now been announced.

                       d. Defendant Aurora actively and violently suppressed public protests
                          calling for justice for Elijah McClain.

            388. On June 27, 2020, thousands of protesters gathered at the Aurora Municipal

    Center—which houses APD headquarters—to protest Elijah’s killing by APD and AFR

    personnel and to celebrate Elijah’s life with a peaceful violin vigil.

            389. In a bizarre display of force, dozens of APD officers clad in riot armor and openly

    displaying weapons appeared at the peaceful protest.

            390. Though the protesters posed no threat to the APD officers, the officers began

    using force against protesters, including the use of batons, pepper spray, and smoke grenades.

    Video shows terrified protesters fleeing from the onslaught of heavily-armored APD officers,

    even as a group of violinists peacefully played an improvised melody in Elijah’s honor.

            391. The plain intent of Defendant Aurora’s use of excessive force to suppress

    constitutionally-guaranteed protest of its police practices was to chill the protected speech of the

    protestors present and the protected speech of any future protester. Any citizen who chooses to

    protest the Aurora government’s actions knows that they face the risk of force at the hands of a

    ruthless APD.

               4. Defendant Aurora is liable for the APD Defendants’ violations of Elijah’s
                  rights.
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           392.    Defendant Aurora’s unlawful conduct, as set forth in detail herein, amounts to a

    custom and widespread practice so pervasive and well-established as to constitute a custom or

    usage with the force of law.

           393.    Through Defendant Aurora’s continuous ratification of unlawful arrests,

    excessive force, and biased decision making against people of color, particularly Black people,

    Defendant Aurora caused the APD Defendants’ illegal conduct.

           394.    Given APD’s long history and widespread practice of APD officers using

    excessive force against people, particularly Black people, and/or taking racially-biased actions

    against Black people, Aurora knew or had constructive knowledge that its officers used

    excessive and unnecessary force and/or would be influenced by racial bias when contacting

    Black People, and that such bias could cause the APD officers to utilize excessive and

    unnecessary force against Black people like Elijah.

           395.    In light of this knowledge, Defendant Aurora could have and should have pursued

    reasonable methods for training and supervising APD officers, including the APD Defendants, in

    interacting with Black people and the appropriate use of force, but it failed to do so.

           396.    Moreover, APD persistently failed to meaningfully investigate and discipline

    numerous APD officers for their similar uses of excessive force, especially those against Black

    people. Aurora’s failure to find officer wrongdoing and failure to discipline officers in this case

    and in the cases described above and others reflects a custom, policy, and/or practice of

    encouraging, tolerating, and/or ratifying blatantly illegal and improper conduct. These

    encouragements, toleration of, and ratifications demonstrate that such police misconduct is

    carried out pursuant to the policies of and regimen of training provided by Aurora, and that such

    conduct is customary within APD.
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           397.    APD’s deliberate and conscious failure to correct prior constitutional violations

    based on similar conduct constituted an affirmative choice to ratify the conduct, and to send a

    clear message to its law enforcement officers that such misconduct is acceptable and approved. It

    is Aurora’s responsibility to properly train its officers to ensure they perform their duties

    correctly and to discipline, rather than ratify and encourage, their improper conduct, so that

    officers can learn from their mistakes and the mistakes of their colleagues and be deterred from

    engaging in misconduct that violates the constitutional rights of people with whom the police

    interact. Aurora’s failure to do so has clearly communicated to APD Defendants that excessive

    force, especially against Black people, as well as racially-biased policing, is authorized and

    tacitly (or explicitly) encouraged.

           398.    Aurora’s past ratification and toleration of similar illegal conduct thus caused and

    was the moving force behind the APD Defendants’ use of excessive force against Elijah, and

    Aurora’s failure to discipline the APD Defendants for this illegal use of force will predictably

    lead to more unconstitutional conduct in the future.

           399.    Accordingly, Defendant Aurora knew or had constructive knowledge of the need

    to provide additional or better training and supervision in and the areas of use of force and

    avoiding racially-biased policing and made a deliberate choice to not adequately train and

    supervise APD officers in avoiding excessive force and racially-biased policing.

           400.    Aurora knew or should have known that its acts or omissions in this regard were

    substantially certain to cause APD officers to violate individuals’ constitutional rights, like

    Elijah’s, and it consciously or deliberately chose to disregard this obvious risk of harm in

    adhering to its policy and custom of excessive force, especially against Black people, and/or

    racially-biased policing, and of failing to provide additional or better training and supervision to
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    APD officers in these areas.

            401.    Defendant Aurora was deliberately indifferent to Plaintiffs’ constitutional rights,

    because Aurora knew or had constructive knowledge that individuals in Elijah’s position would

    be at a substantial risk of suffering dangerous consequences from Aurora’s customs, patterns,

    practices and/or failure to properly train and supervise its employees.

            402.    Defendant Aurora could have and should have pursued reasonable methods for

    the training and supervising of such employees, or disciplining them if they engaged in

    misconduct, but intentionally chose not to do so.

            403.    Defendant Aurora fostered “a policy of inaction” in the face of knowledge that

    APD officers were routinely violating specific constitutional rights, which constitutes the

    functional equivalent of a decision by Aurora itself to violate the Constitution.

            404.    Because Defendant Aurora created and tolerated a custom of deliberate

    indifference and has continuously failed, despite the obvious need to do so, to adequately train

    and supervise APD officers in use of force and avoiding racially-biased policing, individuals in

    Aurora, especially Black people, including Elijah, have repeatedly been subjected to violations

    of their constitutional rights.

            405.    Defendant Aurora’s policy of failing to act in the face of a long history of

    excessive force against people, particularly Black people, and its custom, policy, and practice in

    failing to properly train and supervise its employees despite such history and knowledge or

    constructive knowledge of such history, were the moving force and proximate cause of

    Defendants’ violation of Plaintiffs’ constitutional rights.

            406.    Defendant Aurora’s custom, policy, and practice of encouraging, condoning,

    tolerating, and ratifying racially-biased policing and excessive force, as described herein, and the
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    subsequent cover-ups of such constitutional violations, were the moving force behind, and

    proximate cause of, Defendants’ violation of Plaintiffs’ constitutional rights.

           407.    Defendant Aurora’s acts or omissions caused Elijah’s death and Plaintiffs’

    significant damages.

           408.    Defendant Aurora’s actions, as described herein, deprived Plaintiffs of the rights,

    privileges, liberties, and immunities secured by the Constitution of the United States of America.

           K. Defendants Aurora’s and Dr. Hill’s customs, policies, and/or practices within the
              AFR caused the violations of Elijah’s constitutional rights.

           409.    The State of Colorado requires the medical directors of EMS agencies to obtain

    authority (a “waiver”) from the State for the agency’s paramedics to be able to administer

    ketamine to patients in a pre-hospital setting. The only two reasons for which the waiver allows

    the use of ketamine are the treatment of excited delirium and/or extreme or profound agitation.

           410.    Dr. Hill is registered with CDPHE Emergency Medical and Trauma Services

    (“EMTS”) Branch as a Medical Director for Defendant City of Aurora’s Fire Department.

           411.    The ketamine usage waiver that CDPHE granted to Dr. Hill as the medical

    director of AFR was specifically granted to him under his license; were he to leave his position,

    AFR paramedics would no longer be able to use ketamine unless the new medical director

    obtained a waiver.

               1. The dangers of prehospital ketamine administration are obvious and known
                  to medical personnel, and CDPHE alerted EMS medical directors that a
                  ketamine usage waiver program required the medical director to engage in
                  significant medical oversight.

           412.    The Emergency Medical Practice Advisory Council (“EMPAC”) provides

    recommendations to the CDPHE regarding which agencies should receive waivers. Guidance

    issued by EMPAC for EMS medical directors makes clear that ketamine should not be used for
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    law enforcement purposes, that there are significant dangers associated with ketamine

    administration, and that close supervision is necessary when paramedics are allowed to

    administer it:

                     •   “Agitation that is not thought to be due to an underlying medical or
                         psychological etiology should be managed by police or other public safety
                         providers. EMS providers should not engage in restraining people for law
                         enforcement purposes”;

                     •   “Extreme or profound agitation…is uncommon”;

                     •   “[Ketamine] is associated with a significant potential for complications and
                         may lead to the need for intubation and admission to the Intensive Care Unit,”
                         and “therefore the use of ketamine should be approached with caution.”

                     •   “The EMPAC believes it is wise for interested medical directors to be aware
                         of the most current reported data by CDPHE…from August 2017 to July
                         2018, [including that]…[p]re-hospital intubations occurred in 1% of cases
                         [and] [h]ospital intubations were reported in 18% of cases.”

                     •   Data by Denver paramedics similarly showed a 20% intubation rate of
                         patients who received ketamine injections from Denver paramedics during the
                         same time period; and

                     •   “A successful ketamine waiver will demonstrate significant medical oversight
                         by the EMS agency medical director receiving the waiver over the EMS
                         providers to whom the medical director extends this practice.”

           413.      Data collected by CDPHE for 2019 likewise shows the dangers of complications

    associated with pre-hospital ketamine administration: in 24% of waivered ketamine incidents

    reported to the agency, complications occurred.

           414.      In 2019, AFR was one of 98 agencies that received waivers to use ketamine in a

    pre-hospital setting for patients who met the clinical criteria for excited delirium and/or extreme

    or profound agitation.

           415.      Of the 98 agencies that received the waiver in 2019, only 30 (less than a third of

    the agencies) actually used it. AFR was one of those agencies.
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            416.    Of the 30 agencies that used ketamine under the waiver in 2019, only six

    agencies—including AFR—used it more than 15 times.

            417.    Of the 30 agencies that used ketamine under the waiver in 2019, over 77% of the

    agencies used it 10 times or less, 57% used it five times or less, 37% used it only once or twice.

                 2. AFR paramedics used ketamine for law enforcement purposes, rather than
                    to treat a medical condition.

            418.    As shown by AFR Defendants’ conduct, Aurora and Dr. Hill failed to ensure that

    AFR paramedics follow EMPAC guidance that EMS providers should not use ketamine for law

    enforcement purposes.

            419.    Because there was no objective medical reason for AFR Defendants to administer

    ketamine to Elijah, the only purpose served by the injection was to assist APD Defendants in his

    restraint.

            420.    Indeed, APD Defendants did not call for paramedics out of any belief that Elijah

    was experiencing a medical emergency, but rather only because APD policy in effect at the time

    required that AFR be summoned immediately any time a carotid hold was used.

            421.    When paramedics involuntarily administer medication to a patient not for the

    purpose of rendering medical aid but rather for the purpose of assisting law enforcement officers

    in restraining the patient, the paramedics effect an unlawful seizure under the Fourth

    Amendment.

            422.    Before Elijah’s death, however, Aurora and Dr. Hill knew or should have known

    that AFR paramedics were administering ketamine solely for law enforcement purposes, and, in

    fact, at the bequest of APD officers.

            423.    For example, in March 2019, AFR paramedics injected an individual detained by

    APD officers with ketamine merely because an APD officer asked them to do so to calm a
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    suspect down, consistent with and pursuant to Aurora’s customs and practices.

           424.    After subduing a suspect who had gotten into an altercation with another

    individual—and with no indication the suspect was suffering from excited delirium or was acting

    extremely combative—the officer asked the paramedics, “Hey, can we get like Versed and calm

    this dude down or Haldol or something? Let’s give him some juice to go to sleep…. And then we

    can deal with him.” At this point, the officers already had control of the suspect on the ground.

           425.    AFR paramedics immediately agreed to administer a narcotic, and administered

    450 milligrams of ketamine to the suspect. Throughout the encounter, the suspect repeatedly

    pleaded with the officers and paramedics for them not to medicate him.

           426.    Dr. Hill presumably reviewed this incident—as he was required to review all

    administrations of ketamine—and failed to adequately address the illegal and problematic

    conduct of paramedics, if he addressed it all. Such failure communicated to AFR paramedics that

    the conduct at issue, administering ketamine solely for law enforcement purposes, was

    acceptable and expected by Aurora and Dr. Hill. Dr. Hill’s ratification of the March 2019

    incident thus foreseeably led to and was a moving force of the strikingly similar conduct of AFR

    Defendants here.

           427.    AFR paramedics have a pattern of administering ketamine to patients solely for

    law enforcement purposes, without any medical justification to do so.

           428.    AFR paramedics’ practice of blithely administering ketamine at law

    enforcement’s bequest or expectation, without a careful evaluation and assessment of the patient

    to determine whether it is medically necessary, violates the patient’s right to receive adequate

    medical care and to not be forcibly medicated without adequate justification, and because of the

    significant known dangers of prehospital ketamine administration, creates an obvious risk of
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    serious harm to the patient.

                 3. AFR paramedics engaged in a dangerous custom of routinely administering a
                    dosage of 500 mg of ketamine, regardless of the patient’s weight.

              429.   Though AFR protocols concerning the use of ketamine require that AFR

    paramedics provide a weight-based dosage of ketamine, at a rate of five milligrams of ketamine

    per kilogram of the patient’s body weight, AFR paramedics routinely fail to obtain even an

    estimated weight for patients prior to injecting them with ketamine.

              430.   In response to a July 2020 open records request for “[a]ll patient care reports

    (PCRs) from any incident in which AFR personnel injected any person with ketamine from

    January 1, 2014, through the present date,” the City of Aurora produced a total of twenty-five

    patient care reports (PCRs).

              431.   The standardized form for AFR’s PCRs includes a field for “Patient Weight” in

    the “Patient Hx” section of the form. This field is left blank in nine PCRs, where no weight

    information is provided in any part of the report. In other words, nine of the twenty-five PCRs

    (36%) make no mention at all of patient weight or estimated patient weight.

              432.   In all of the encounters in which AFR medics failed to note the patient’s

    weight, AFR medics administered 500 milligrams of ketamine to the patient. The fact that

    AFR injected 500 milligrams of ketamine in each case where it failed to note the patient’s weight

    is evidence of AFR’s dangerous de facto custom, policy and/or practice of administering a dose

    of 500 milligrams in cases in which a paramedic cannot or simply fails to estimate a patient’s

    weight.

              433.   As noted above, AFR training materials acknowledge the de facto custom, policy

    and/or practice, reminding that “‘Everyone gets 500 mg [of ketamine]’ practice is not good

    practice.”
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           434.    The repeated instances in which no patient weight was listed in the PCR and AFR

    gave the patient 500 milligrams of ketamine is evidence that AFR included this statement in the

    training materials because it knew that the custom among its paramedics was to provide 500

    milligrams of ketamine as the default dose.

           435.    Eight of the nine instances of AFR paramedics providing 500 milligrams of

    ketamine without obtaining an estimated patient weight occurred prior to the encounter with

    Elijah, the earliest occurring in November 2018.

           436.    Just over a month prior to the encounter with Elijah, on July 19, 2019, Defendant

    Cooper was personally involved on such a call. On that day, AFR paramedic Robert Hodges

    injected a patient with 500 milligrams of ketamine, and provided no patient weight or estimated

    patient weight in his report. Defendant Cooper was a part of the four-man AFR team who

    responded to that call.

           437.    Dr. Hill’s Scope of Practice Waiver application that he filed with CDPHE affirms

    that he was responsible for detailing the education and training process for AFR EMTs who

    administered ketamine under his waiver. Training under the protocols states that the dosage is

    “5mg/kg”.

           438.    Dr. Hill delegated the training of AFR paramedics to other AFR paramedics,

    including paramedic Sean Dolan.

           439.    Dr. Hill was responsible for the content of the training delegated to the AFR

    paramedics, as well as for creating the protocol for the administration of ketamine by AFR on

    which the training was based.

           440.    Both Defendants Cooper and Cichuniec received training on the use of ketamine

    from AFR paramedic Sean Dolan in May 2018.
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            441.    Medic Dolan was among the AFR personnel who responded to an April 10, 2019,

    call during which AFR medics administered a 500-milligram injection of ketamine despite AFR

    failing to obtain the patient’s weight.

            442.    Every time that Defendant Cooper, Defendant Cichuniec, or Medic Dolan

    responded to a call in their capacities as AFR paramedics in which ketamine was administered, a

    500-milligram dose was used, regardless of patient size.

            443.    Defendant Cooper never wrote down his supposed estimate of Elijah’s weight at

    100 kilograms, and never so much as mentioned that estimate until questioned by APD

    investigators after the fact.

            444.    Defendant Cooper knew that in order for the 500-milligram dose to have been in

    accordance with AFR’s five milligrams of ketamine per kilogram of body weight protocol, Elijah

    would have needed to be an estimated weight of 100 kilograms.

            445.    However, this 100-kilogram estimate was wildly inaccurate. Elijah weighed

    approximately 65 kilograms; Defendant Cooper’s estimate was off by over 50%.

            446.    As no contemporaneous AFR documentation of the ketamine administration to

    Elijah ever included Defendant Cooper’s 100-kilogram weight estimate, the outlandishly

    inaccurate estimate was nowhere close to Elijah’s actual weight, and Defendant Cooper’s

    assertion that Elijah weighed 100 kilograms, the exact number of kilograms required to make it

    appear that he had followed the AFR protocol, occurred only after police questioning, the most

    plausible explanation for the 500 milligram dose in this case is that Defendant Cooper failed to

    estimate Elijah’s weight before the ketamine administration and rather followed AFR’s de facto

    custom, policy and/or practice of providing 500 milligrams of ketamine to patients whose

    weights were not estimated prior to administration.
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           447.    Defendant Cichuniec’s inconsistent explanation of how AFR Defendants decided

    to administer a dose of 500 milligrams of ketamine to Elijah provides further evidence that AFR

    Defendants did not in fact determine Elijah’s weight before the injection, and, instead, provided

    post hoc explanations to try to cover up this fact.

           448.    As further evidence of AFR’s custom, policy, and/or practice of administering a

    blanket dose of 500 milligrams of ketamine to patients whose weight was not estimated before

    the administration, and that such practice was at least tolerated, if not encouraged, the practice

    has continued since Elijah’s death.

           449.    As recently as May 30, 2020, AFR paramedics provided a patient with a dose of

    500 milligrams of ketamine without obtaining the patient’s weight for the PCR.

           450.    AFR’s unlawful conduct, as set forth herein, amounts to a custom and widespread

    practice so pervasive and well-established as to constitute a custom or usage with the force of

    law.

           451.    Aurora’s failure to discipline or counsel the AFR Defendants for their role in

    Elijah’s death confirms that the AFR Defendants’ conduct was carried out pursuant to the

    customs, policies, practices, and regimen of training of AFR, and that such conduct is customary

    within AFR. Had such conduct not been customary and pursuant to approved policy, Aurora

    would have taken disciplinary or ameliorative action in response to Elijah’s death.

           452.    Likewise, Dr. Hill—who has the power to suspend AFR EMTs from working as

    paramedics—determined not to discipline or counsel the AFR Defendants, demonstrating that he

    too was of the opinion that they had acted within policy, protocol, and training of AFR.

           453.    Indeed, in an AFR news release posted on November 22, 2019, AFR Chief

    Fernando Gray provides the following quote: “The unwavering opinion of Aurora Fire Rescue is
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    that the actions of the AFR medics on the scene of the [Elijah McClain] incident met the

    expectations set by applicable protocol and policy.” In support of this statement, Chief Gray

    explained that “the medical direction team”—which presumably included and was likely led in

    part by Dr. Hill—“completed a preliminary review of the case and determined that the actions of

    the responders were consistent and aligned with established protocols. In November [2019], the

    AFR medical direction team completed an additional and more thorough quality assurance

    review.”

            454.    The obvious failure of AFR Defendants to use the correct dosage of ketamine—as

    well as their insistence on using the drug in the first place given Elijah’s obvious lack of excited

    delirium symptoms—shows that neither Aurora nor Dr. Hill exercised constitutional or even

    adequate oversight over the prehospital ketamine administration by AFR paramedics. If they had,

    they could not have found AFR Defendants actions here acceptable, and they would have

    insisted on changing the training to minimize the risk of a similar harm befalling any other AFR

    patients in the future.

                4. Defendants Aurora and Dr. Hill are liable for the AFR Defendants’
                   violations of Elijah’s rights.

            455.    Aurora and Dr. Hill thus knew prior to Elijah’s death that its paramedics

    customarily engaged in practices known to be dangerous and potentially deadly—administering

    ketamine for a law enforcement purpose when not medically indicated, and injecting patients

    with 500 milligrams of ketamine when that dose was too high based on their weight—yet neither

    Aurora nor Dr. Hill took sufficient actions to ensure that AFR paramedics stopped doing so.

            456.    Aurora’s and Dr. Hill’s conscious decision not to adequately act in the face of its

    knowledge of these customs policies and/or practices among AFR paramedics was a moving

    force behind AFR Defendants’ illegal conduct.
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            457.    Importantly, because of, among other things, the EMPAC guidance directed to

    EMS medical directors emphasizing the potential dangers associated with prehospital ketamine

    usage and the need for close supervision and review over EMTs who administered ketamine, Dr.

    Hill knew of the likelihood that his failure to provide adequate training and close monitoring of

    AFR paramedics in this area posed a serious risk of harm to patients like Elijah.

            458.    Yet despite his obvious awareness of the dangers of ketamine administration, the

    protocol and training Dr. Hill drafted for AFR paramedics to follow was inadequate. Neither

    mentioned contraindications, and sufficient information was not provided on how to treat side

    effects or airway management. The training and protocols also failed to state the need for

    immediate monitoring after administration, with a noted lack of emphasis that paramedics

    needed to be prepared to provide immediate intubation.

            459.    Essentially, the training and protocols provided to AFR paramedics by Aurora and

    designed by Dr. Hill treated ketamine as if it were a benign medication with very rare or not very

    serious side effects.

            460.    Moreover, in the Scope of Practice Waiver application filed by Dr. Hill, he

    certified that he understood his obligations to implement a quality assurance/improvement

    program regarding ketamine administration that would require the “medical director” of AFR—

    i.e., Dr. Hill—to review within 7 days all encounters involving ketamine use; in the event that a

    complication from ketamine administration or a possible protocol violation occurred, Dr. Hill

    was required to review the case within 24 hours. Dr. Hill further certified to CDPHE that

    “acceptable performance” under the review would be determined by “proper use of the

    medication on appropriate patients, correct dosing of the medication, and proper monitoring

    being performed and documented after ketamine administration.”
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             461.   Likewise, the protocol Dr. Hill drafted for AFR paramedics—and submitted to the

    CDPHE as part of his application for the waiver—stated that “[a]ll cases of ketamine use will be

    reviewed by the Medical Director.”

             462.   Accordingly, Dr. Hill understood the need for close oversight and supervision

    given the relatively high chance of adverse outcome. He further understood the probable

    likelihood of significant harm from failing to provide adequate training and oversight, and he

    understood that adequate oversight included close review of whether paramedics provided,

    among other things, “proper use of the medication on appropriate patients” and the “correct

    dosing” of ketamine. He also knew that “[l]arge doses [of ketamine] increase likelihood of

    harmful side effects,” as was stated in the training drafted for AFR paramedics.

             463.   Yet in over 35% of prior ketamine administration incidents by AFR paramedics

    before Elijah’s death, no weight was recorded by EMTs and yet 500 mg of ketamine was

    administered.

             464.   Dr. Hill thus knew, based on his review of these incidents, that AFR paramedics

    were routinely engaging in dangerous practices, yet he took no actions to ensure they ceased to

    do so.

             465.   Dr. Hill’s conscious decision not to adequately train, supervise, audit, or oversee

    AFR paramedics, especially given his knowledge that paramedics who were routinely

    administering 500 mg of ketamine without regard to the weight of the patient, and/or that AFR

    paramedics were administering ketamine when not medically indicated, was a moving force in

    the AFR Defendants’ unlawful conduct here, and foreseeably lead to the type of medical

    complications suffered by Elijah.

             466.   Based on the deficient training, customs, policies, and/or practices described
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    above, Aurora and Defendant Dr. Hill knew or should have known that AFR paramedics would

    display deliberate indifference to the serious medical needs of patients to whom ketamine was

    administered.

           467.     This is particularly true in light of AFR’s de facto custom, policy, and/or practice

    of defaulting to a dose of 500 milligrams, regardless of patient size.

           468.     In light of this knowledge or constructive knowledge, Aurora and Defendant Dr.

    Hill could have and should have changed its policies and/or pursued reasonable methods for

    training, supervising, and disciplining AFR paramedics in the area of ketamine administration,

    but these Defendants made a conscious and deliberate choice not to do so.

           469.     Because Aurora and Defendant Dr. Hill created, tolerated and, at times,

    encouraged a custom, policy, and/or practice of deliberate indifference to patients’ serious

    medical needs and continuously failed, despite the obvious need to do so, to adequately train,

    discipline, and supervise AFR paramedics in this area, individuals including Elijah have been

    subjected to violations of their constitutional rights.

           470.     Aurora and Defendant Dr. Hill knew or should have known that its acts or

    omissions in failing to ensure the proper administration of ketamine by AFR paramedics were

    substantially certain to cause AFR paramedics to violate individuals’ constitutional rights, and

    these Defendants consciously or deliberately chose to disregard this obvious risk of harm in

    adhering to its policies, practices, and/or customs in this area, and failed to provide additional or

    better training and supervision in this area.

           471.     Aurora and Defendant Dr. Hill were deliberately indifferent to Elijah’s and

    Plaintiffs’ constitutional rights because they knew that individuals in Elijah’s position would be

    at substantial risk of suffering dangerous consequences from the AFR training, custom, policy,
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    and/or practice regarding the administration of ketamine, including administration of ketamine

    when not medically indicated, blanket administrations of 500 milligrams of ketamine, and the

    failure to adequately train and supervise paramedics to rectify this custom, yet these Defendants

    failed to take adequate action to rectify this known deficiency.

            472.    The need to put an end to these dangerous customs, policies, and/or practices and

    for related adequate training and supervision, as well as the probability that the failure to do so

    would cause an individual like Elijah to die or be seriously injured, was so obvious that Aurora’s

    and Defendant Dr. Hill’s failure to do so constituted deliberate indifference to Elijah’s and

    Plaintiffs’ constitutional rights.

            473.    Elijah’s death was the result of customary and known deficiencies in the medical

    care provided to patients by AFR, and Aurora’s and Defendant Dr. Hill’s unconstitutional

    policies, customs, practices, and/or lack of adequate training and supervision, as described

    herein, were the moving force and proximate cause of AFR Defendants’ violating Elijah’s

    constitutional right to be free from deliberate indifference to his serious medical needs.

            474.    Aurora’s and Defendant Dr. Hill’s deliberate indifference to Elijah’s and

    Plaintiffs’ constitutional rights caused Elijah’s death and Plaintiffs substantial damages.

                             V. STATEMENT OF CLAIMS FOR RELIEF


                                  FIRST CLAIM FOR RELIEF
                              42 U.S.C. § 1983 – Fourth Amendment
                                          Excessive Force
       (Estate of Elijah Javon McClain against Defendants City of Aurora, Officer Nathan
     Woodyard, Officer Randy Roedema, Officer Jason Rosenblatt, Officer Matthew Green,
    Sergeant Dale Leonard, Officer Alicia Ward, Officer Kyle Dittrich, Officer Erica Marrero,
      Officer James Root, Officer Jordan Mullins-Orcutt, Officer Darren Dunson, Sergeant
                           Rachel Nunez, and Officer Stephanie Nghiem)

            475.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

    forth herein.
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              476.   At all times relevant to the allegations in this Complaint, the APD Defendants

    acted under color of state law, and within the course and scope of their official duties and

    employment in their capacities as officers and sergeants of the APD.

              477.   Aurora and the APD Defendants are “persons” under 42 U.S.C. § 1983.

              478.   Under the Fourth Amendment, as incorporated against the states by the

    Fourteenth Amendment, Decedent Elijah McClain had a clearly established constitutional right

    to be secure in his person against unreasonable seizures through the use of excessive force.

              479.   Under the application of the specific facts and totality of circumstances as

    described herein, APD Defendants violated Mr. McClain’s clearly established constitutional

    rights.

              480.   Any reasonable law enforcement officer knew or should have known of these

    clearly established rights at the time of Mr. McClain’s death.

              481.   APD Defendants did not have a valid legal basis to seize Mr. McClain. There was

    no reasonable suspicion or probable cause to believe that Mr. McClain had committed any crime.

              482.   APD Defendants did not have a valid legal basis to seize Mr. McClain in the

    manner and with the level of force used under the circumstances present.

              483.   APD Defendants unlawfully seized Mr. McClain by means of objectively

    unreasonable and excessive force when they had no reasonable belief Mr. McClain had

    committed or was going to commit a crime, possessed a weapon, or posed a threat to any officer

    or any other person.

              484.   The APD Defendants who observed other APD Defendants’ unlawful seizure and

    use of force against Mr. McClain had a legal duty to intervene to stop this illegal conduct.

              485.   APD Defendants engaged in and/or failed to intervene in the use of force that was
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    objectively unreasonable in light of the facts and circumstances surrounding them, violating Mr.

    McClain’s Fourth Amendment rights.

           486.    APD Defendants’ actions, as described herein, were objectively unreasonable in

    light of the facts and circumstances confronting them.

           487.    Any reasonable officer in their position would have known that it was

    unreasonable to use the amount, type, and duration of force used—or to fail to intervene to

    attempt to prevent the use of such force—and that to do so (or to fail to intervene to prevent the

    use of such force) would violate Mr. McClain’s clearly established constitutional rights.

           488.    APD Defendants’ excessive use of force and/or failure to intervene to prevent the

    excessive use of force caused Mr. McClain to be unlawfully seized and thereby caused his death.

           489.    APD Defendant Officers Woodyard, Roedema, Rosenblatt, Green, and Ward and

    Sergeant Leonard (“Direct Participation Defendants”) are liable for the use of excessive force

    against Mr. McClain based on their direct participation in the force used.

           490.    Each individual APD Defendant, including the Direct Participation Defendants

    and Defendants Officers Dittrich, Marrero, Root, Mullins-Orcutt, Nghiem, and Dunson, and

    Sergeant Nunez, is liable for the use of excessive force against Mr. McClain for their failure to

    intervene and protect Mr. McClain from harm at the hands of each Direct Participation

    Defendant.

           491.    At all relevant times, each individual APD Defendant had a duty to protect Mr.

    McClain, an individual in custody of APD officers, from harm and unconstitutional treatment at

    the hands of other APD officers.

           492.    Each individual APD Defendant knew or reasonably should have known that the

    acts of each Direct Participation Defendant presented an excessive risk of harm to Mr. McClain,
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    yet each APD Defendant failed to take reasonable steps to protect Mr. McClain from the

    objectively unreasonable use of force by each of the Direct Participation Defendants, despite

    being in a position and having an opportunity to do so. Each APD Defendant is therefore liable

    for the damages resulting from the objectively unreasonable force used by each of the Direct

    Participation Defendants.

           493.    Each Direct Participation Defendant knew or reasonably should have known that

    the other Direct Participation Defendants presented an excessive risk of harm to Mr. McClain,

    yet none of Direct Participation Defendants took reasonable steps to protect Mr. McClain from

    the objectively unreasonable use of force by the other Direct Participation Defendants, despite

    being in a position and having an opportunity to do so.

           494.    Each APD Defendant is therefore liable for the damages resulting from the

    objectively unreasonable force used by the Direct Participation Defendants, including the

    damages resulting from the aggregate effects of the multiples uses of force, Mr. McClain’s pain

    and suffering preceding his death and his death itself.

           495.    Defendants Sergeants Leonard and Nunez (“Supervisory Defendants”) were the

    sergeants and thus supervisors on site when the Direct Participation Defendants subjected Mr.

    McClain to excessive force and all APD Defendants failed to intervene.

           496.    At all relevant times, the Supervisory Defendants possessed supervisory authority

    over all APD Defendants, including Direct Participation Defendants.

           497.    At all relevant times, the Supervisory Defendants had a legal duty to adequately

    supervise all APD Defendants, including Direct Participation Defendants. They failed to do so

    here by, inter alia, failing to properly direct the conduct of their subordinates, failing to enforce

    proscriptions against the use of excessive force, and/or failing to intervene to stop their
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    subordinates’ excessive use of force despite knowing or reasonably constructively knowing that

    the Direct Participation Defendants presented an excessive risk of harm to Mr. McClain, and

    knowing that those Defendants were inflicting excessive force on Mr. McClain.

              498.   All APD Defendants, including Supervisory Defendants, caused Mr. McClain to

    be deprived of his constitutional right to be free from excessive force because, by failing to

    protect him from the use of excessive force by each of the Direct Participation Defendants, these

    Defendants set in motion a series of events that they knew or reasonably should have known

    would cause the Direct Participation Defendants to deprive Mr. McClain of his constitutional

    rights.

              499.   APD Defendants’ actions, as described herein, were motivated by malice and/or

    involved reckless or callous indifference to Mr. McClain’s federally protected rights, and they

    engaged in these actions and omissions intentionally, willfully, and/or wantonly, demonstrating

    deliberate indifference to, and a reckless disregard for, Mr. McClain’s constitutionally protected

    rights.

              500.   The acts and omissions in which the APD Defendants engaged were because of

    and pursuant to the customs, practices, policies, and/or training of Defendant City of Aurora.

              501.   As alleged in detail above, Defendant Aurora has a custom, policy, and practice of

    encouraging, condoning, tolerating, ratifying, and even rewarding the use of excessive force by

    APD officers. This is manifested through, among other things, APD’s grossly inadequate

    training, supervision, and discipline of APD officers relating to the use of excessive force.

              502.   Defendant Aurora and the Supervisory Defendants were on notice of APD’s

    defective customs, policies, and/or practices before APD Defendants’ excessive use of force

    against Mr. McClain.
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            503.    The need for additional and effective use of force policies, training, and/or

    supervision was obvious, and the Supervisory Defendants and Defendant Aurora exhibited

    deliberate indifference to the known and substantial risk of harm to Mr. McClain and others by

    failing to create adequate use of force policies and/or to adequately train or supervise APD

    officers in the use of force.

            504.    The Supervisory Defendants’ and Defendant Aurora’s failure to create and

    implement adequate use of force policies and/or to adequately train and/or supervise APD

    officers in the use of force was substantially certain to cause APD officers to violate the

    constitutional rights of individuals like Mr. McClain to be free from excessive force, and these

    Defendants consciously or deliberately chose to disregard this risk in failing to change the use of

    force policies and/or adequately train and/or supervise APD officers in the use of force. These

    acts and/or omissions constituted a deliberate choice by the Supervisory Defendants and

    Defendant Aurora among several alternatives to pursue a course of action regarding creating and

    implementing policies, training, and supervision in the area of use of force.

            505.    Defendant Aurora and the Supervisory Defendants set in motion a series of events

    that they knew would cause Mr. McClain, or an individual in a similar situation as Mr. McClain,

    to be deprived of his constitutional right to be free from excessive force.

            506.    But for the above acts or omissions of Aurora and the Supervisory Defendants,

    the APD Defendants would not have violated Mr. McClain’s constitutional rights, and such a

    deprivation was a natural and foreseeable consequence of the Aurora and Supervisory

    Defendants’ acts and omissions.

            507.    The herein described acts or omissions of Defendant Aurora and each individual

    APD Defendant were the moving force behind the violation of Mr. McClain’s constitutional
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    right to be free from excessive force and proximate cause of Plaintiff Estate’s significant injuries,

    damages, and losses, including Mr. McClain’s death.

           508.    The herein described acts or omissions of the Defendant Aurora and the

    individual APD Defendants were the moving force and the legal, direct, and proximate cause of

    Plaintiff Estate’s injuries and losses, including but not limited to Mr. McClain’s death, the

    physical and mental pain and anguish Mr. McClain suffered before and during his death

    (including but not limited to the extended time period between Defendants’ seizure of Mr.

    McClain and his death), the loss of Mr. McClain’s relationship and companionship with his

    family and friends, the loss of Mr. McClain’s constitutional rights, his loss of enjoyment of life,

    and other compensatory and special damages including but not limited to Mr. McClain’s

    permanent lost earnings and earnings capacity, medical bills, and funeral expenses.

           509.    APD Defendants’ and Aurora’s intentional actions or inactions as described

    herein intentionally deprived Mr. McClain of due process and of rights, privileges, liberties, and

    immunities secured by the Constitution of the United States of America.

                                SECOND CLAIM FOR RELIEF
                            42 U.S.C. § 1983 – Fourteenth Amendment
                                    Denial of Equal Protection
       (Estate of Elijah Javon McClain against Defendants City of Aurora, Officer Nathan
     Woodyard, Officer Randy Roedema, Officer Jason Rosenblatt, Officer Matthew Green,
    Sergeant Dale Leonard, Officer Alicia Ward, Officer Kyle Dittrich, Officer Erica Marrero,
       Officer James Root, Officer Jordan Mullins-Orcutt, Officer Darren Dunson, Officer
                          Stephanie Nghiem, and Sergeant Rachel Nunez)

           510.    Plaintiffs incorporate all other paragraphs of this Complaint as if set forth herein.

           511.    APD Defendants were acting under color of state law and within the course and

    scope of their employment in their actions and inactions at all times relevant to this action.

           512.    At the time of the complained of events, Mr. McClain had the clearly established

    constitutional right to be free from racial discrimination in law enforcement by police officers
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    and to enjoy the equal protection of the laws.

           513.    Mr. McClain’s race was a motivating factor in APD Defendants’ decision to seize

    him, use excessive force against him, and/or fail to intervene in the seizure and the use of such

    excessive force. APD Defendants acted with the intent or purpose of depriving Mr. McClain of

    the equal protection and benefits of the law, and equal privileges and immunities under the law,

    in violation of the Fourteenth Amendment.

           514.    APD Defendants treated Mr. McClain less favorably—and with much more

    unreasonable force—than his similarly situated White counterparts, wholly or in part because he

    was Black.

           515.    APD Defendants acted or intentionally failed to act with an intent or purpose to

    discriminate against Mr. McClain based upon his race.

           516.    There was no rational basis for APD Defendants’ discriminatory actions and

    inactions, let alone a purpose narrowly tailored to serve a compelling governmental interest.

           517.    APD Defendants seized and used excessive force against Mr. McClain without

    reasonable suspicion or probable cause to believe that Mr. McClain had committed a crime,

    posed a threat of harm to any other person, or was a flight risk that would legally justify the force

    used. The lack of any such reasonable suspicion or probable cause, along with APD’s long

    history of racially biased policing, are evidence that the seizure of Mr. McClain by APD

    Defendants’ use of force against him was motivated in whole or in part because of Mr.

    McClain’s race.

           518.    APD officers’ history and disproportionate use of excessive force against

    Black people provide evidence of discriminatory intent. APD’s clear pattern of disproportionate

    use of excessive force against Black people is unexplainable on grounds other than race.
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           519.    APD Defendants intentionally, willfully, unreasonably, and wantonly seized Mr.

    McClain by using excessive force against him, and/or failing to intervene in the use of excessive

    force against him, wholly or in part because of his race.

           520.    APD Defendants’ actions were objectively unreasonable considering the facts and

    circumstances confronting them.

           521.    APD Defendants engaged in these actions or inactions intentionally, willfully,

    maliciously, and wantonly, showing deliberate indifference to and reckless disregard of Mr.

    McClain’s federally protected constitutional rights.

           522.    Defendant Aurora failed to properly train, supervise, and/or discipline its

    employees regarding the constitutional requirement not to engage in racially biased policing,

    resulting in the APD Defendants’ unlawful seizure via the use of excessive force against Mr.

    McClain or failure to intervene therein. Defendant Aurora particularly failed to properly train,

    supervise, and/or discipline its employees regarding the use of excessive force against Black

    people, and the prohibition on using race as a motivating factor in taking police actions,

    including the use of force.

           523.    Aurora’s inadequate training, supervision, and/or discipline resulted from a

    conscious or deliberate choice to follow a course of action from among various alternatives

    available to Defendant Aurora.

           524.    Considering the duties and responsibilities of personnel of Defendant Aurora—

    who must police and interact with Black people regularly—and the frequency with which such

    law enforcement personnel will confront Black people while discharging their duties as law

    enforcement officers as described herein, the need for specialized training, supervision, and

    discipline regarding such decisions was so obvious, and the inadequacy of training and/or
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    supervision was so likely to result in a violation of constitutional rights, such as those described

    herein, that Defendant Aurora is liable for its failure to properly train, supervise, and/or

    discipline its subordinate employees and agents.

             525.   Such failure to properly train, supervise, and/or discipline was a moving force

    behind and proximate cause of APD Defendants’ racially biased treatment of Mr. McClain, and

    makes up an unconstitutional policy, procedure, custom, and/or practice.

             526.   Aurora exonerated APD Defendants for their racially biased conduct under

    Aurora’s municipal customs, policies and/or actual practices described herein. Such decision to

    exonerate racially discriminatory conduct was made deliberately and pursuant to Aurora’s

    longstanding customs and practices. The decision sends a clear message that APD Defendants

    acted pursuant to the customs, practices, and policies of Defendant Aurora.

             527.   Defendant Aurora’s failure to adequately train and/or supervise, as well as the

    failure to take appropriate disciplinary or remedial action on past instances of similar

    unconstitutional conduct, as described herein, was a legal and proximate cause of Mr. McClain’s

    death.

             528.   As a direct and proximate result of Aurora and APD Defendants’ actions, Mr.

    McClain lost his life and Plaintiff Estate has been and continues to be damaged by APD

    Defendants’ racially motivated seizure via unreasonable use of excessive force. Mr. McClain

    endured physical and mental pain, humiliation, fear, anxiety, loss of enjoyment of life, loss of

    liberty, privacy, loss of consortium with his family and friends, and sense of security and

    individual dignity, and tragically the loss of his life at the age of 23.

             529.   The herein described acts or omissions of Defendant Aurora and the individual

    APD Defendants were the moving force and the legal, direct, and proximate cause of Plaintiff
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    Estate’s injuries and losses, including but not limited to Mr. McClain’s death, the physical and

    mental pain and anguish Mr. McClain suffered before and during his death (including but not

    limited to the extended time period between Defendants’ seizure of Mr. McClain and his death),

    the loss of Mr. McClain’s relationship and companionship with his family and friends, the loss of

    Mr. McClain’s constitutional rights, his loss of enjoyment of life, and other compensatory and

    special damages including but not limited to Mr. McClain’s permanent lost earnings and

    earnings capacity, medical bills, and funeral expenses.

           530.     APD Defendants’ and Aurora’s intentional actions or inactions as described

    herein intentionally deprived Mr. McClain of due process and of rights, privileges, liberties, and

    immunities secured by the Constitution of the United States of America.

                                  THIRD CLAIM FOR RELIEF
                            42 U.S.C. § 1983 – Fourteenth Amendment
        Failure to Ensure Basic Safety and Provide Adequate Medical Care and Treatment
       (Estate of Elijah Javon McClain against Defendants City of Aurora, Lieutenant Peter
                      Cichuniec, Paramedic Jeremy Cooper, and Dr. Eric Hill)

           531.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

    forth herein.

           532.     At all times relevant to the allegations in this Complaint, AFR Defendants acted

    (or failed to act) under color of state law and within the course and scope of their employment.

           533.     At the time of AFR’s contact with Mr. McClain, Mr. McClain was in the custody

    of APD officers on behalf of the City of Aurora.

           534.     Because Mr. McClain was in custody of APD, and Aurora had restrained Mr.

    McClain’s freedom to act on his own behalf at the time of AFR Defendants’ contact with him,

    AFR Defendants had a constitutional duty to protect Mr. McClain, to provide him adequate aid,

    and to provide for his safety and general well-being, including his basic needs to be kept
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  reasonably safe and receive adequate medical care.

         535.    Mr. McClain had a clearly established due process right under the Fourteenth

  Amendment to be kept reasonably safe and to receive adequate medical care while in the custody

  of APD.

         536.    Under the Fourteenth Amendment, Mr. McClain was protected from conduct that

  was not rationally related to a legitimate nonpunitive governmental purpose or actions that

  appear excessive in relation to that purpose.

         537.    Each AFR Defendant and Defendant Dr. Hill knew or should have known of these

  clearly established rights at the time of their contact with Mr. McClain.

         538.    Under the application of the specific facts and totality of circumstances as

  described fulsomely herein, AFR Defendants and Defendant Dr. Hill violated Mr. McClain’s

  clearly established constitutional rights.

         539.    At most, an objective reasonableness standard applies to Mr. McClain’s claims

  against the AFR Defendants. He had not been arraigned for any criminal offense and was not in

  APD custody because of an adjudication of guilt within a criminal context. However, for the

  reasons amply described above and herein, AFR Defendants also had the subjective mental state

  of deliberate indifference to Mr. McClain serious and obvious medical needs. 9

         540.    Mr. McClain was in obvious and serious need of aid and medical care and

  treatment during his contact with AFR Defendants.


  9
    Alternatively, a professional judgment standard applies because Defendants had taken Mr.
  McClain into their custody by restraining him against his will and therefore had a special
  relationship with Mr. McClain. This special relationship included a duty to provide adequate
  medical care to Mr. McClain, and the legal basis upon which their conduct is judged, a
  professional judgment standard, is a more lenient standard for plaintiffs than deliberate
  indifference. See Youngberg v. Romeo, 457 U.S. 307, 321-22 (1982); Yvonne L. v. New Mexico
  Dep’t of Human Services, 959 F.2d 883, 894 (10th Cir. 1992); T.M. ex rel. Cox v. Carson, 93 F.
  Supp. 2d 1179, 1192 (D. Wyo. 2000).
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         541.    Rather than provide adequate medical care, AFR Defendants compromised Mr.

  McClain’s basic safety by injecting Mr. McClain with an overdose of a drug that AFR

  Defendants knew or should have known put him at substantial risk of suffering serious harm.

         542.    AFR Defendants then failed to immediately monitor Mr. McClain and provide

  needed medical assistance after the injection of the ketamine, despite knowing or constructively

  knowing that their failure to do so exacerbated the risk of his suffering serious harm and despite

  his obvious medical distress.

         543.    AFR Defendants’ conduct was objectively unreasonable.

         544.    AFR Defendants’ special relationship with Mr. McClain—in that he was in

  Defendants’ legal custody and detention against his will at the time of their tortious acts, and

  unable to provide for his own serious medical needs—triggered an affirmative duty on their part

  to protect Mr. McClain from harm; AFR Defendants’ actions or inactions violated the duty in

  substantially departing from accepted professional judgment, practice, or standards, and from the

  duty to provide reasonable care under all the circumstances and created the conditions that

  caused Mr. McClain’s severe pain and suffering and, ultimately, his death.

         545.    AFR Defendants’ actions and inactions also constituted deliberate indifference to

  Mr. McClain’s obvious and serious medical needs. A reasonable official in the circumstances

  would have appreciated the high degree of risk involved in AFR Defendants’ actions and

  inactions—making the consequences of the AFR Defendants’ conduct obvious.

         546.    At all times relevant to the allegations in this Complaint, each AFR Defendant

  knew of and disregarded the excessive risks associated with their treatment of Mr. McClain.

         547.    With deliberate indifference to Mr. McClain’s constitutional right to be kept

  reasonably safe and his right to receive adequate medical care for his known serious medical
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  needs, as provided by the Due Process Clause of the Fourteenth Amendment to the United States

  Constitution, AFR Defendants knowingly failed to adequately and timely examine, treat,

  monitor, supervise, and/or obtain medical care for Mr. McClain’s obvious medical needs, or to

  intervene to ameliorate the other Defendants’ deliberate indifference to the obvious serious

  medical needs of Mr. McClain (despite having the duty, requisite knowledge, and opportunity to

  intervene). They did so despite their knowledge of Mr. McClain’s serious medical needs, thereby

  placing him at risk of serious physical harm, including death. Therefore, the AFR Defendants

  knew or were aware that Mr. McClain faced a substantial risk of harm and disregarded this

  excessive risk by injecting him with an overdose of ketamine and then failing to take measures to

  reduce the risks caused by such action.

         548.    By committing these actions and inactions, AFR Defendants caused Mr.

  McClain’s injuries and death and Plaintiffs’ damages.

         549.    Defendants Aurora and Dr. Hill are liable for AFR’s deliberately indifferent

  policies, practices, customs, widespread usages, and failures to adequately train and supervise

  their employees and contractors regarding, among other things, when to reasonably administer

  ketamine to a patient, the dosage to administer, and procedures surrounding the use of ketamine.

         550.    Defendants Aurora and Dr. Hill are directly liable for their own deliberately

  indifferent policies, customs, and practices that were moving forces in Mr. McClain’s

  constitutional injury, as well as their deliberately indifferent training and supervision of AFR

  paramedics, and their own roles in setting policy or providing training to AFR paramedics

  regarding ketamine.

         551.    Defendant Aurora is also liable under the nondelegable duty doctrine for the

  deliberately indifferent policies, customs, practices, training and supervision of any private
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  company with which it contracted to provide policies and training regarding ketamine.

         552.    As described in detail above, Defendants Aurora’s and Dr. Hill’s deliberately

  indifferent policies, customs, practices, and/or failures to adequately train and/or supervise were

  moving forces in the violation of Mr. McClain’s constitutional rights.

         553.    Defendants Aurora and Dr. Hill were on notice that its deliberate indifference

  would result in serious injury and death.

         554.    Defendants Aurora’s and Dr. Hill’s failures in training and supervision were so

  obvious that the failure to provide the same was deliberately indifferent to the rights of the

  relevant public and a moving force in the complained of injuries and death of Mr. McClain.

         555.    Defendants Aurora’s and Dr. Hill’s ratification of the conduct by AFR Defendants

  that was a substantial contributing factor or caused the death of Mr. McClain evidences that such

  conduct was engaged in pursuant to policy, custom, and practice of AFR; had it been outside of

  policy, disciplinary or remedial action would have been taken.

         556.    Therefore, Defendants Aurora and Dr. Hill set in motion a series of events that

  they knew would cause an individual in a similar situation as Mr. McClain to be deprived of his

  constitutional right to adequate medical care. But for the above acts or omissions of Aurora, Mr.

  McClain would not have been subjected to a violation of his constitutional rights, and such a

  deprivation was a natural and foreseeable consequence of Defendants Aurora’s and Dr. Hill’s

  acts and omissions.

         557.    Defendant’s and Dr. Hill’s policies, practices, habits, customs, widespread usages,

  and/or lack of adequate training and supervision that resulted in the failure to provide proper

  medical care to Mr. McClain were not rationally related to a legitimate nonpunitive

  governmental purpose, or were excessive in relation to that purpose.
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         558.    The herein described acts or omissions of each AFR Defendant, Defendant

  Aurora, and Defendant Dr. Hill were a moving force and legal and proximate cause of, and/or

  substantial contributing factor to, the violation of Mr. McClain’s constitutional right to receive

  adequate medical care.

         559.    The herein described acts or omissions of these Defendants were a moving force

  and a legal, direct, and proximate cause of Plaintiff Estate’s injuries and losses, including but not

  limited to Mr. McClain’s death, the physical and mental pain Mr. McClain suffered before and

  during his death, the loss of Mr. McClain’s constitutional rights, loss of enjoyment of life, and

  other compensatory and special damages including but not limited to Mr. McClain’s medical

  bills, funeral expenses, and permanent lost earnings and earnings capacity.

         560.    The herein described acts and inactions were taken by AFR Defendants and

  Defendant Dr. Hill in reckless and callous indifference to Mr. McClain’s federally protected

  rights, and these Defendants engaged in these actions and omissions maliciously, intentionally,

  willfully, and/or wantonly, demonstrating deliberate indifference to, and a reckless disregard for,

  Mr. McClain’s constitutionally-protected rights.

         561.    The intentional actions or inactions of each Defendant as described herein

  intentionally deprived Mr. McClain of due process and of rights, privileges, liberties, and

  immunities secured by the Constitution of the United States of America and caused other

  damages.

                               FOURTH CLAIM FOR RELIEF
                           42 U.S.C. § 1983 – Fourteenth Amendment
   Substantive Due Process – Deprivation of Liberty – Forcible Administration of Medication
      (Estate of Elijah Javon McClain against Lieutenant Peter Cichuniec and Paramedic
                                        Jeremy Cooper)

         562.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set
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  forth herein.

         563.      AFR Defendants were acting under color of state law in their actions and

  inactions which occurred at all times relevant to this action.

         564.      Under the Fourteenth Amendment to the United States Constitution, Mr. McClain

  had a constitutionally protected interest in making his own decision whether to accept or reject

  the administration of potentially dangerous drugs (like ketamine) in non-emergent

  circumstances.

         565.      Defendant Paramedic Cooper and Defendant Paramedic Cichuniec, acting in

  coordination and in concert with each other, violated Mr. McClain’s clearly established

  Fourteenth Amendment right to refuse the forcible administration of medication by requesting

  that another paramedic draw 500 milligrams of ketamine to be administered to Mr. McClain.

         566.      Defendant Paramedic Cooper also violated Mr. McClain’s clearly established

  Fourteenth Amendment right to refuse the forcible administration of medication by intentionally

  injecting him with the ketamine. In so doing, Defendant Cooper effectuated the illegal plan to

  forcibly administer ketamine to Mr. McClain that he and Defendant Cichuniec had agreed upon.

         567.      There obviously was no medical or other emergency that justified the

  administration of any ketamine to Mr. McClain, much less the profoundly impactful and

  excessive dosage the AFR Defendants caused to be forcibly administered to him.

         568.      At the time AFR Defendants, acting in coordination and in concert with each

  other, caused Mr. McClain to receive 500 milligrams of ketamine, AFR Defendants knew that he

  was already physically restrained, that he did not present a threat to himself or others, and that he

  was not resisting the police or anyone else.
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         569.     Moreover, Mr. McClain obviously was not displaying any medical symptoms—

  physical, psychological, or otherwise—that would have justified the forcible administration of

  ketamine to him. AFR Defendants also were aware of these facts at the time they administered

  the ketamine.

         570.     There plainly was no legitimate law enforcement or medical purpose for injecting

  Mr. McClain with ketamine, as Mr. McClain presented absolutely no safety or security threat.

         571.     AFR Defendants’ administration of the ketamine to Mr. McClain clearly was not

  in his own medical interest based on the facts the Defendants knew at the time.

         572.     AFR Defendants all knew that Mr. McClain had not consented to the

  administration of ketamine to him.

         573.     AFR Defendants engaged in the aforementioned conduct intentionally, willfully,

  and wantonly.

         574.     AFR Defendants engaged in the aforementioned conduct with reckless or callous

  disregard of, or indifference to, the rights and safety of Mr. McClain and others.

         575.     AFR Defendants’ conduct falls outside the standards of civilized decency and

  therefore shocks the conscience.

         576.     The Estate has been and continues to be damaged by AFR Defendants’ violation

  of Mr. McClain’s clearly established Fourteenth Amendment right to refuse the forcible

  administration of medication because this foreseeably was a cause of Mr. McClain’s

  unimaginable pain, suffering, and terror and, ultimately, his death.

         577.     More specifically, the ketamine overdose foreseeably suppressed Mr. McClain’s

  ability to adequately ventilate. In conjunction with the severe metabolic acidosis caused by the
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  APD Defendants’ prolonged (illegal) restraint of Mr. McClain and (illegal) use of force on Mr.

  McClain, the ketamine foreseeably caused Mr. McClain’s cardiac arrest.

         578.    The acts and/or omissions of each AFR Defendant were a legal and proximate

  cause of the Estate’s damages.

         579.    The herein described acts or omissions of each AFR Defendant were a moving

  force of, legal and proximate cause of, and/or substantial contributing factor to the violation of

  Mr. McClain’s constitutional right to refuse the administration of ketamine.

         580.    The herein described acts or omissions of these Defendants were a moving force

  and a legal, direct, and proximate cause of Plaintiff Estate’s injuries and losses, including but not

  limited to Mr. McClain’s death, the physical and mental pain Mr. McClain suffered before and

  during his death, the loss of Mr. McClain’s constitutional rights, loss of enjoyment of life, and

  other compensatory and special damages including but not limited to medical bills, funeral

  expenses, and permanent lost earnings and earnings capacity.

         581.    The herein described acts and inactions were taken by the AFR Defendants in

  reckless and callous indifference to Mr. McClain’s federally protected rights, and these

  Defendants engaged in these actions and omissions maliciously, intentionally, willfully, and/or

  wantonly, demonstrating deliberate indifference to, and a reckless disregard for, Mr. McClain’s

  constitutionally-protected rights.

         582.    The intentional actions or inactions of each AFR Defendant as described herein

  intentionally deprived Mr. McClain of due process and of rights, privileges, liberties, and

  immunities secured by the Constitution of the United States of America and caused other

  damages.

                                   FIFTH CLAIM FOR RELIEF
                               42 U.S.C. § 1983 – Fourth Amendment
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                                       Excessive Force
      (Estate of Elijah Javon McClain against Lieutenant Peter Cichuniec and Paramedic
                                       Jeremy Cooper)

         583.      Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

         584.      At all times relevant to the allegations in this Complaint, the AFR Defendants

  acted under color of state law, and within the course and scope of their official duties and

  employment in their capacities as AFR paramedics.

         585.      Under the Fourth Amendment, as incorporated against the states by the

  Fourteenth Amendment, Decedent Elijah McClain had a clearly established constitutional right

  to be secure in his person against unreasonable seizure and excessive force.

         586.      Under the Fourth Amendment, Mr. McClain had a clearly established right as a

  competent adult not to be involuntarily seized without probable cause to believe that he

  presented a danger to himself or others, as well as a clearly established right not to be seized by

  emergency responders for purposes of enforcing the law, punishment, deterrence, or

  incarceration.

         587.      Under the application of the specific facts and totality of circumstances as

  described herein, AFR Defendants violated Mr. McClain’s clearly established constitutional

  rights to be free from unreasonable seizure and excessive force.

         588.      Any reasonable paramedic knew or should have known of these clearly

  established rights at the time of Mr. McClain’s death.

         589.      AFR Defendants’ administration of ketamine to Mr. McClain constituted a

  seizure under the Fourth Amendment because the ketamine physically incapacitated Mr.

  McClain, thereby restraining his freedom of movement by means of physical force intentionally
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  applied.

         590.    When AFR Defendants administered the ketamine to Mr. McClain, they were

  acting in a law enforcement capacity as opposed to an emergency medical response capacity.

  There was no actual or apparent medical need for the ketamine administration, and AFR

  Defendants instead administered the ketamine for the purpose of rendering Mr. McClain, a non-

  consenting, non-dangerous, competent adult, incapacitated and restrained for law enforcement

  purposes, to assist APD Defendants in unreasonably restraining or punishing Mr. McClain.

         591.    AFR Defendants did not have a valid legal basis to seize Mr. McClain via

  incapacitation due to ketamine administration. There was no reasonable suspicion or probable

  cause to believe that Mr. McClain had committed any crime, that he posed an immediate threat

  to the safety of himself or others, or that he was actively attempting to avoid being subdued or

  brought under control.

         592.    AFR Defendants did not have a valid legal basis to seize Mr. McClain in the

  manner and with the level of force used under the circumstances present.

         593.    AFR Defendants unlawfully seized Mr. McClain by means of objectively

  unreasonable chemical restraint when they had no reasonable belief Mr. McClain had committed

  or was going to commit a crime, possessed a weapon, or posed a threat to any officer or any

  other person including himself.

         594.    AFR Defendants’ seizure of Mr. McClain and the manner of the seizure were

  objectively unreasonable in light of the facts and circumstances surrounding them, violating Mr.

  McClain’s Fourth Amendment rights.

         595.    Any reasonable paramedic in AFR Defendants’ position would have known that it

  was unreasonable to administer the ketamine under the circumstances at issue, and that to do so
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  would violate Mr. McClain’s clearly established constitutional rights.

            596.   AFR Defendants’ conduct caused Mr. McClain to be unlawfully seized and was a

  moving force of and/or substantially contributing factor to Mr. McClain’s death.

            597.   AFR Defendants’ actions, as described herein, were motivated by malice and/or

  involved reckless or callous indifference to Mr. McClain’s federally protected rights, and they

  engaged in these actions and omissions intentionally, willfully, and/or wantonly, demonstrating

  deliberate indifference to, and a reckless disregard for, Mr. McClain’s constitutionally protected

  rights.

            598.   The herein described acts or omissions of each AFR Defendant were a moving

  force of and/or substantial contributing factor to the violation of Mr. McClain’s constitutional

  right to be free from unreasonable seizure and a proximate cause of Plaintiff Estate’s significant

  injuries, damages, and losses, including Mr. McClain’s death.

            599.   The herein described acts or omissions of the AFR Defendants were a moving

  force and legal, direct, and proximate cause of Plaintiff Estate’s injuries and losses, including but

  not limited to Mr. McClain’s death, the loss of Mr. McClain’s relationship and companionship

  with his family and friends, the loss of Mr. McClain’s constitutional rights, his loss of enjoyment

  of life, and other compensatory and special damages including but not limited to Mr. McClain’s

  permanent lost earnings and earnings capacity, medical bills, and funeral expenses.

            600.   AFR Defendants’ intentional actions or inactions as described herein intentionally

  deprived Mr. McClain of due process and of rights, privileges, liberties, and immunities secured

  by the Constitution of the United States of America.

                             SIXTH CLAIM FOR RELIEF
                           Colo. Rev. Stat. § 13-21-201 et seq.
                            Battery Causing Wrongful Death
    (Sheneen McClain and LaWayne Mosley against Defendants Officer Nathan Woodyard,
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   Officer Randy Roedema, Officer Jason Rosenblatt, Officer Matthew Green, Sergeant Dale
                           Leonard, and Officer Alicia Ward)

         601.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

         602.     Pursuant to Colo. Rev. Stat. §§ 24-10-105(1) and 24-10-118(2)(a), public

  employees like Direct Participation Defendants are not immune under the Colorado

  Governmental Immunity Act (“CGIA”) for acts or omissions that are willful and wanton.

         603.     Pursuant to the CGIA, Plaintiffs provided Defendants with timely notice of claim

  on February 19, 2020.

         604.     Direct Participation Defendants intentionally used force against Mr. McClain with

  the intent to inflict harmful contact on Mr. McClain, and which such contact caused injury to Mr.

  McClain, namely his death.

         605.     As described in detail in above, Direct Participation Defendants’ use of force

  against Mr. McClain did not constitute the use of reasonable force because the force was in

  excess of the amount of force that an officer in their position would have reasonably believed

  necessary to arrest Mr. McClain, protect themselves or others from any risk of harm posed by

  Mr. McClain, and/or or prevent his escape.

         606.     Direct Participation Defendants’ intentional infliction of physical harm upon Mr.

  McClain, causing his death, was without legal authorization, privilege, or consent.

         607.     In using excessive force against Mr. McClain, Direct Participation Defendants

  consciously disregarded a substantial and unjustifiable risk of danger of death or serious bodily

  injury to Mr. McClain.

         608.     Direct Participation Defendants’ willful and wanton conduct caused Mr.

  McClain’s death and Plaintiffs’ damages.
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          609.    Direct Participation Defendants’ conduct was attended by circumstances of

  malice, or willful and wanton conduct, which they must have realized was dangerous, and/or

  they acted heedlessly and recklessly, without regard to the consequences to Mr. McClain or his

  family, his safety and life, and their lives.

          610.    Direct Participation Defendants’ conduct constituted a felonious killing under

  C.R.S. §§ 13-21-203 and 15-11-803, in that their conduct caused the death of Mr. McClain and

  that they consciously disregarded a substantial and unjustifiable risk that their conduct would

  cause the death of Mr. McClain.

          611.    Plaintiffs, as the parents of Mr. McClain, suffered and continue to suffer

  economic and non-economic damages due to these Defendants’ tortious conduct, including but

  not limited to economic damages for medical and funeral expenses and financial losses due to

  the financial benefits they would have reasonably expected to receive from Mr. McClain had he

  lived, and non-economic damages for grief, loss of Mr. McClain’s companionship, impairment

  in the quality of their lives, inconvenience, pain and suffering, and extreme emotional stress.

          612.    As a result of these Defendants’ negligence, Plaintiffs have suffered damages,

  losses, and injuries in an amount to be determined by the jury at trial. These damages include,

  but are not limited to, pain and suffering, upset, grief, loss of society and companionship, and all

  other purely non-economic damages as allowed under the Colorado Wrongful Death Act.

                               SEVENTH CLAIM FOR RELIEF
                               Colo. Rev. Stat. § 13-21-201 et seq.
                              Negligence Causing Wrongful Death
    (Sheneen McClain and LaWayne Mosley against Defendants Officer Nathan Woodyard,
   Officer Randy Roedema, Officer Jason Rosenblatt, Officer Matthew Green, Sergeant Dale
      Leonard, Officer Alicia Ward, Officer Kyle Dittrich, Officer Erica Marrero, Officer
   Jordan Mullins-Orcutt, Officer Darren Dunson, Officer Stephanie Nghiem, and Sergeant
                                        Rachel Nunez)

          613.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set
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  forth herein.

         614.     Pursuant to Colo. Rev. Stat. §§ 24-10-105(1) and 24-10-118(2)(a), public

  employees like APD Defendants are not immune under the Colorado Governmental Immunity

  Act (“CGIA”) for acts or omissions that are willful and wanton.

         615.     Pursuant to the CGIA, Plaintiffs provided Defendants with timely notice of claim

  on February 19, 2020.

         616.     APD Defendants had a statutory, constitutional, and common law duty to detain

  Mr. McClain in a safe manner, and to protect him from harm while under the custody of APD.

         617.     Because Mr. McClain was under the control of APD officers, APD Defendants

  had a duty to exercise reasonable care in protecting Mr. McClain’s health and safety.

         618.     APD Defendants breached their duty of care to Mr. McClain.

         619.     All APD Defendants knew or should have known that Direct Participation

  Defendants were using excessive force against Mr. McClain and that such force was likely to

  cause him harm.

         620.     By not acting to protect Mr. McClain from the use of excessive force and

  reasonably foreseeable risk of unreasonable harm caused by Direct Participation Defendants’

  conduct, APD Defendants failed to act as a reasonably prudent person would have, thus

  breaching their duty of care to Mr. McClain.

         621.     Each APD Defendant had a timely opportunity to intervene in Direct

  Participations’ use of excessive force against Mr. McClain, yet each failed to do so.

         622.     Because APD Defendants, including Direct Participation Defendants, each knew

  or should have known that the Direct Participation Defendants or other Direct Participation

  Defendants was causing Mr. McClain harm or the risk of harm, and they failed to take any action
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  to prevent such harm or the risk of harm, they are each liable for the harm caused Mr. McClain

  and Plaintiffs, namely Mr. McClain’s death.

          623.      In failing to exercise reasonable care in protecting Mr. McClain from

  unreasonable harm by Direct Participation Defendants’ use of excessive force, APD Defendants

  were negligent and proximately caused Mr. McClain’s death.

          624.      APD Defendants’ negligent acts and omissions were a substantial and significant

  contributing factor and cause of Mr. McClain’s death, and it was reasonably foreseeable that

  APD Defendants’ negligence would cause the harm or a similar harm that Mr. McClain suffered,

  and Plaintiffs have suffered, are suffering, and will suffer.

          625.      It was reasonably foreseeable to a reasonable person in each of the APD

  Defendants’ positions that their failure to intervene in the use of excessive force against Mr.

  McClain would cause the harm or a similar harm that Mr. McClain suffered.

          626.      As a direct and proximate result of APD Defendants’ conduct, Mr. McClain

  suffered significant physical and mental pain and suffering and other damages, and ultimately

  died, causing Plaintiffs’ damages.

          627.      APD Defendants’ conduct was attended by circumstances of malice, or willful

  and wanton conduct, which APD Defendants must have realized was dangerous, or that their

  actions and inactions were taken recklessly, without regard to the consequences to Mr. McClain

  and Plaintiffs.

          628.      In taking the above actions and inactions, APD Defendants consciously

  disregarded a substantial and unjustifiable risk that they knew or should have known would

  cause serious bodily injury or the death of another.

          629.      Plaintiffs suffered and continue to suffer economic and non-economic damages
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  due to APD Defendants’ negligent conduct, including but not limited to economic damages for

  funeral and medical expenses and financial losses due to the financial benefits they would have

  reasonably expected to receive from Mr. McClain had he lived, and non-economic damages for

  grief, loss of Mr. McClain’s companionship, impairment in the quality of their lives,

  inconvenience, pain and suffering, and extreme emotional stress.

         630.     As a result of these Defendants’ negligence, Plaintiffs have suffered damages,

  losses, and injuries in an amount to be determined by the jury at trial. These damages include,

  but are not limited to, pain and suffering, upset, grief, loss of society and companionship, and all

  other purely non-economic damages as allowed under the Colorado Wrongful Death Act.

                            EIGHTH CLAIM FOR RELIEF
                            Colo. Rev. Stat. § 13-21-201 et seq.
                           Negligence Causing Wrongful Death
   (Sheneen McClain and LaWayne Mosley against Defendants Lieutenant Peter Cichuniec,
                         Paramedic Jeremy Cooper, and Dr. Hill)

         631.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

         632.     Pursuant to Colo. Rev. Stat. §§ 24-10-105(1) and 24-10-118(2)(a), public

  employees like AFR Defendants and Defendant Dr. Hill are not immune under the Colorado

  Governmental Immunity Act (“CGIA”) for acts or omissions that are willful and wanton.

         633.     Pursuant to the CGIA, Plaintiffs provided Defendants with timely notice of claim

  on February 19, 2020.

         634.     At all times relevant, Mr. McClain was in the involuntary custody of APD on

  behalf of Aurora, and under the medical responsibility, care, and treatment of AFR Defendants.

         635.     AFR Defendants had a duty to exercise reasonable care to ensure the safety of

  individuals under custody of Aurora and to provide reasonable medical care and treatment to
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  such individuals.

         636.       AFR Defendants had a paramedic-patient relationship with Mr. McClain at all

  relevant times.

         637.       With respect to their care and treatment of Mr. McClain, AFR Defendants owed

  him a duty to exercise the degree of care, skill, caution, diligence, and foresight exercised by and

  expected of medical personnel in similar situations.

         638.       In addition to common law, these duties of care are also informed by state law.

  For example, under Colo. Rev. Stat. § 16-3-401, individuals in custody shall be treated humanely

  and provided with adequate food, shelter, and, if required, medical treatment. The provision of

  adequate medical treatment and humane care is a statutory (as well as constitutional) obligation.

         639.       AFR Defendants breached their duty of care to Mr. McClain and deviated from

  the standard of care they owed him when they failed to exercise reasonable care in protecting

  him by harm by unreasonably injecting Mr. McClain with an unnecessary medication.

         640.       AFR Defendants breached their duty of care to Mr. McClain and deviated from

  the standard of care they owed him when they failed to exercise reasonable care in protecting

  him by harm by giving him a significant overdose of such medication.

         641.       AFR Defendants breached their duty of care to Mr. McClain and deviated from

  the standard of care they owed him when they failed to provide Mr. McClain with reasonable

  and necessary medical care by failing to immediately monitor his condition after the ketamine

  was administered and provide immediate medical assistance once they knew or should have

  known he was in medical distress.

         642.       Per his duties as AFR medical director, Defendant Dr. Hill had a duty to exercise

  reasonable care in the training and supervision of AFR paramedics providing ketamine to
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  patients, and owed Mr. McClain a duty to exercise the degree of care, skill, caution, diligence,

  and foresight exercised by and expected of medical personnel in similar situations.

         643.    Defendant Dr. Hill is liable for negligent supervision and negligent training of

  AFR paramedics, and for failing to ensure the provision of appropriate care in the treatment of

  Mr. McClain. Defendant Dr. Hill is directly liable for breaching his duty to exercise reasonable

  care and deviating from the standard of care owed Mr. McClain in his failure to provide training

  and supervision of AFR paramedics in a manner that provided patients with reasonable medical

  care and treatment.

         644.    Defendant Dr. Hill or should have known that the lack of adequate supervision

  and training of AFR paramedics was likely to harm patients to whom AFR paramedics

  administered ketamine, like Mr. McClain.

         645.    In failing to exercise reasonable care in the training and supervision of AFR

  paramedics as it relates to the administration of ketamine, Defendant Dr. Hill was negligent and

  proximately caused Mr. McClain’s death

         646.    As a direct and proximate result of AFR Defendants’ and Defendant Dr. Hill’s

  breach of their duty to protect Mr. McClain from harm and to provide reasonable care and

  treatment to Mr. McClain, he suffered significant physical and mental pain and distress and other

  damages, including death.

         647.    The negligent acts and omissions by AFR Defendants and Defendant Dr. Hill

  were a substantial and significant contributing cause of Mr. McClain’s death, and it was

  reasonably foreseeable that these Defendants’ negligence would cause the harm or a similar

  harm that Mr. McClain and Plaintiffs have suffered, are suffering, and will suffer.

         648.    AFR Defendants’ and Defendant Dr. Hill’s conduct was attended by
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  circumstances of malice, or willful and wanton conduct, which AFR Defendants must have

  realized was dangerous, or that was done recklessly, without regard to the consequences to Mr.

  McClain and Plaintiffs.

         649.    AFR Defendants and Defendant Dr Hill consciously disregarded a substantial and

  unjustifiable risk that they knew or should have known would cause serious bodily injury or the

  death of another.

         650.    AFR Defendants’ and Defendant Dr. Hill’s conduct constituted a felonious killing

  under C.R.S. §§ 13-21-203 and 15-11-803, in that their conduct caused the death of Mr. McClain

  and that they consciously disregarded a substantial and unjustifiable risk that their conduct would

  cause the death of Mr. McClain.

         651.    Plaintiffs suffered and continue to suffer economic and non-economic damages

  due to AFR Defendants’ and Defendant Dr Hill’s negligent conduct, including but not limited to

  economic damages for funeral and medical expenses and financial losses due to the financial

  benefits they would have reasonably expected to receive from Mr. McClain had he lived, and

  non-economic damages for grief, loss of Mr. McClain’s companionship, impairment in the

  quality of their lives, inconvenience, pain and suffering, and extreme emotional stress.

         652.    As a result of these Defendants’ negligence, Plaintiffs have suffered damages,

  losses, and injuries in an amount to be determined by the jury at trial. These damages include,

  but are not limited to, pain and suffering, upset, grief, loss of society and companionship, and all

  other purely non-economic damages as allowed under the Colorado Wrongful Death Act.

                             NINTH CLAIM FOR RELIEF
                           Colo. Rev. Stat. § 13-21-201 et seq.
                            Battery Causing Wrongful Death
    (Sheneen McClain and LaWayne Mosley against Defendants Lieutenant Peter Cichuniec
                            and Paramedic Jeremy Cooper)
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          653.     Plaintiffs hereby incorporate all other paragraphs of this Complaint as if fully set

  forth herein.

          654.     Pursuant to Colo. Rev. Stat. §§ 24-10-105(1) and 24-10-118(2)(a), public

  employees like the AFR Defendants are not immune under the Colorado Governmental

  Immunity Act (“CGIA”) for acts or omissions that are willful and wanton.

          655.     Pursuant to the CGIA, Plaintiffs provided Defendants with timely notice of claim

  on February 19, 2020.

          656.     Mr. McClain never consented to any Defendant injecting him with ketamine.

          657.     Nevertheless, Defendants Cichuniec and Cooper, acting in concert, knowingly

  forcibly administered ketamine to Mr. McClain against his obvious wishes to not be injected

  with the drug.

          658.     Thus, Defendants Cichuniec and Cooper not only intentionally and knowingly

  administered ketamine to Mr. McClain without his consent, they administered the drug to him

  despite being aware that he did not consent to it. Such conduct constitutes unlawful battery.

          659.     No appropriate skill was used in these Defendants’ decisions to administer

  ketamine to Mr. McClain.

          660.     Moreover, at no relevant time did the AFR Defendants reasonably believe that

  Mr. McClain’s life or health was in such danger that to delay treatment would further endanger

  his life or health.

          661.     At no relevant time, under the same or similar circumstances, would a reasonably

  careful medical provider have believed the same thing as the AFR Defendants claimed to here. A

  reasonably careful medical provider would not have injected Mr. McClain with any ketamine,

  much less the excessive quantity the AFR Defendants intentionally used, because there was no
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  medical or other justification for the use of ketamine at the time.

          662.    At no relevant time was Mr. McClain in a mental or physical condition that

  prevented him from being able to indicate his consent or lack of consent.

          663.    The AFR Defendants’ willful and wanton conduct caused Mr. McClain’s death

  and Plaintiffs’ damages.

          664.    The AFR Defendants’ conduct was attended by circumstances of malice, or

  willful and wanton conduct, which they must have realized was dangerous, and/or they acted

  heedlessly and recklessly, without regard to the consequences to Mr. McClain or his family, his

  safety and life, and their lives.

          665.    The AFR Defendants’ conduct constituted a felonious killing under C.R.S. §§ 13-

  21-203 and 15-11-803, in that their conduct caused the death of Mr. McClain and that they

  consciously disregarded a substantial and unjustifiable risk that their conduct would cause the

  death of Mr. McClain.

          666.    Plaintiffs, as the parents of Mr. McClain, suffered and continue to suffer

  economic and non-economic damages due to these Defendants’ tortious conduct, including but

  not limited to economic damages for medical and funeral expenses and financial losses due to

  the financial benefits they would have reasonably expected to receive from Mr. McClain had he

  lived, and non-economic damages for grief, loss of Mr. McClain’s companionship, impairment

  in the quality of their lives, inconvenience, pain and suffering, and extreme emotional stress.

          667.    As a result of these Defendants’ unlawful conduct, Plaintiffs have suffered

  damages, losses, and injuries in an amount to be determined by the jury at trial. These damages

  include, but are not limited to, pain and suffering, upset, grief, loss of society and

  companionship, and all other purely non-economic damages as allowed under the Colorado
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  Wrongful Death Act.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in their

  favor and against each of the Defendants, and grant them all relief as allowed by law and equity,

  including, but not limited to:

         (a)     Declaratory and injunctive relief, as appropriate;

         (b)     Past and future economic losses on all claims allowed by law, including but not

                 limited to lost earnings and funeral and medical related expenses, in an amount to

                 be determined at trial;

         (c)     Compensatory and consequential damages, including, but not limited to, damages

                 for emotional distress, loss of enjoyment of life, and other pain and suffering on

                 all claims allowed by law in an amount to be determined at trial;

         (d)     Punitive damages on all claims allowed by law and in an amount to be determined

                 at trial;

         (e)     Attorneys’ fees and the costs associated with this action, including expert witness

                 fees, on all claims allowed by law;
         (f)     Pre- and post-judgment interest at the lawful rate;

         (g)     Any further relief that this court deems just and proper, and any other relief as
                 allowed by law.

           PLAINTIFFS DEMAND A TRIAL TO A JURY ON ALL ISSUES SO TRIABLE.

         Dated this 20th day of January 2021.

                                             KILLMER, LANE & NEWMAN, LLP

                                              s/ Mari Newman
                                             Mari Newman
                                             Michael Fairhurst
                                             Liana Gerstle Orshan
                                             1543 Champa Street, Suite 400
                                             Denver, Colorado 80202
                                             Phone: (303) 571-1000
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                                              mnewman@kln-law.com
                                              mfairhurst@kln-law.com
                                              lorshan@kln-law.com

                                              ATTORNEYS FOR PLAINTIFFS

                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 20, 2021, I electronically filed the foregoing with the Clerk
  of the Court using the CM/ECF system, which will send notification of such filing to the following:

  Peter Morales
  Isabelle Evans
  Aurora City Attorney’s Office
  15151 E. Alameda Parkway, Suite 5300
  Aurora, CO 80012
  pmorales@auroragov.org
  ievans@auroragov.org

  Counsel for Defendant City of Aurora, and Defendants Woodyard, Roedema, Rosenblatt, Green,
  Leonard, Ward, Dittrich, Marrero, Root, Mullins-Orcutt, Dunson, Nunez, Cichuniec, Cooper, in
  their official capacities

  Jonathan M. Abramson
  Yulia Nikolaevskaya
  Kissinger & Fellman, P.C.
  3773 Cherry Creek N. Dr., #900
  Denver, CO 80209
  jonathan@kandf.com
  julie@kandf.com

  Attorney for Defendants Dittrich, Dunson, Green, Leonard, Marrero, Mullins-Orcutt, Nunez,
  Roedema, Root, Rosenblatt, Ward, and Woodyard in their individual capacities

  Stephen J. Hensen
  Partner
  Hensen | DuWaldt
  1001 Bannock St., Suite 39
  Denver, CO 80204
  steve@hendulaw.com

  Attorney for Dr. Eric Hill

  Michael Lowe
  David Goddard
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  Bruno, Colin & Lowe, P.C.
  1999 Broadway, Suite 4300
  Denver, Colorado 80202
  MLowe@brunolawyers.com
  dgoddard@brunolawyers.com

  Attorneys for Defendants Cichuniec and Cooper in their individual capacities

                                             KILLMER, LANE & NEWMAN, LLP

                                             s/ Jesse Askeland
                                             ___________________________
                                             Jesse Askeland
